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 FCC Victorville  ~                                  ~~~~ Cl   e.,. o+sT~Cr    ~
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 Adelanto, CA 92394                                        ~UL 12 2OI7
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                                                                           ~~Ew°~u ',
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

 Vanessa Cooper,                               VERIFIED
 P laintiff                                    COMPLAINT PURSUANT TO
                                               U.S.0 1983 FOR ,'-., _='_...
 v.                                           'FIRST..& EIGH~'~=::~ ~-
                                              AMENDMENT VI:OI;ATTONS
 Federal Bureau of Prisons;
 A. Washington-Adduci
 Richard Griffen;                  ~,                                 ~~~;~ / ~~~,~
 Sharon Bailey;                         ~ y ~ 7~ 5 ~ ~ ~                 ~~
 Ivan Negron;
 L. McCullar;                                                               Rt~~~~  -D COUI~~
                                                                                DISTRICT
 M. king ;                                                           CLERK,U.S.
~~il-a Taylor; and
Roes z-x                                                                      ,~~ ~ ~ 2017

NOW COMES Plaintff VANESSA COOPER,by and ,through,`pr c~                        ~STRICTOFCAI-1pOPUTA
Pro Per, and for her comlaint hereby states the full c~

;IURISDICTIONAL ALLEGATIONS AND PARTIES

1.    This Court is conferred jurisdiction pursuant to 42 U.S:C
      § 1983 and 28 U.S.C. § 1331 ~t. seq.

2.    Venue is proper in the United State ~- District Court for the
      Central District of California because the Plaintiff is
      currently confined in a Federal Bureau of Prison, (hereinafter
      '
      'FB~P") at the Federal Correctional Complex in Victorville, Ca.
      (hereinafter "FCC Victorville"). The events complained of occurrnce
      happened at a Federal Correctional Institute Aliceville, Alabama
      (hereinafter "FCI Aliceville")

3.    Plaintiff was at all times relevant a prisoner in the custody of
      FCI Aliceville of the FBOP.

4.      Plaintiff was confined at FCI Aliceville, 11070 Highway 14 P.O. Box
        4000 Aliceville, Alabama 35442 Bureau of Prisons (hereinafter "BOP")
        a t all time relevant, during the initial events giving rise to this
      _ action.
5.    The FBOP is a fereral agency funded as part of the Department of
      J ustice. The BOP is responsible for the medical care of all prisoners
      in it's custody and under its control.


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 6.    Upon information and belief A Washington- Adduci (hereinafter

      '
      'Defendant Adduci") is a Federal Officer and Warden of FCI Alliceville

       at all times relevant to this complaint.

 7.    Upon information and belief, Dr. McCullar (hereinafter "Defendant

       McCullar") is a Federal Officer stationed at FCI Aliceville until

       year 2015, which is revelant to this complaint.

8.     Upon information and belief Dr. Richard Grifffin (hereinafter

      '
      'Defendant Griffin") is a Federal Officer of the BOP Health Services

       and was employed at FCI Alliceville, at all times relevant to this

      complaint.

9.     upon information and belief, Sharon Bailey RN (hereinafter

      "Defendant Bailey") is a Federal Officer of the BOP Health Services

      and was employed at FCI Alliceville, at all times relevant to this

      complaint.

10.    Upon information and belief, M King RN, (hereinafter "defendant

      King") is a Federal Officerof the BOP Health Services and was employed

      a t FCI Aliceville, at all time relevant to this complaint.

11.    upon information and belief, Taylor Triage Nurse (hereinafter

      "Defendant Taylor") is a Federal Officer of the BOP health Services

      and was employed at FCI Aliceville, at all times relevant to          this
      complaint, until year 2015.

12.    Ugon information and belief, Ivan Negron MD (hereinafter

      "Defendant Negron") is a Federal Officer of the BOP Health Services

      and was employed at FCI Aliceville, at all time revelant to this

      complaint.

13.    Upon information and belief, t~e~true identities are unknown for

      ~e~enda~t Roes I-X, ~Onc.e the full names and identities are

       discovered, Plaintiff wi~~Z'amend this complaint.



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14.   Upon information and belief, the entity U.S Department of Justice

      and Federal Bureau of Prison Health Services, is a government agency

      and at all times relevant to this complaint was under contract with

      FCI Aliceville to provide inmates with adequate health care services.

15.   The FCI Aliceville Facility is an operational correctional facility

      and for all times pertinent hereto Defendant Adduci acted as it's

      i~arden   and had the overall control and supervision of it's operation

      for discretionary and administrative matters, including the

      interpretation, implementation and review of challenges of violations

      of FCI Aliceville protocol and procedures.

16.   It is noteworthy to alert the court's attention to the fact the

      BOP Health Services has had numerous complaints for gross medical

      misconduct.

COMPLIANCE WITH PRE-EXHAUSTION REQUIREMENTS

17.   Plaintiff incorporates by reference all preceding paragraphs of

      this Complaint. as if fully stated herein.

18.   Plaintiff has complied in all respects with the Pre- Exhaustion

      Requirements of the Administrative Remedies including the Federal

      Tort Claims Act ("FTCA") through the appropriate grievance process

      of the FBOP including FCI Aliceville.

19.   Although Plaintiff specifically reference many of her grievances

      €iced' against Defendants for the issues currently at bar by their

      particularized grievance identification numbers, Plaintiff

      grievance record is broader than reasonably prudent to fully

      restate the instant Complaint, and Plainfiff thereby incorporates

      Plainfiff's fully accessible grievance record as if fully -

      reinstated herein.




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2~•    In addition- to filling numerous grievances against the

       D efendants, Plaintiff also wrote to many of these named

       Defendants and e-mails, made to them or their representative

       in the hopes of (and providing the opportuity for) resol-

       wing this matter.

I NTRODUCTION AND NATURE OF PLAINTIFF'S DENIALS

21.   Plaintiff incorporates by reference all preceding para-

      graphs of theis Complaint as if fully stated herein.

22.   Plaintiff is a 43 year old female bringing suit after over

      3 years of denials of appropriate care for a injury that

      occured in the year of 2014, while Plaintiff was exercising

      at the FCI Alliceville recreation. This injury resulted in

      a right knee promenent posterior horn medial meniscud tear

      and cartilage thinning within the lateral compartment, and

      d egeneration; and in retaliation for Plaintiff's persever-

      ance in seeking treatment despite these denials, continued

      indifference to Plaintiff's medical needs. (see E~. A)

23.   These denials have included willful, knowing, deliberate

      indifference, retaliatory and malicious actions by the

      Defendants named and described herein which have eit'ner

      caused additional injury, hastened the progression of joint

      ligaments articular cartilage damage, or which have led to

      permanent damage to the Plaintiff bone,joints, and nerves,

      and the Plaintiff's knees, hips, back, and shoulers which

      in turn causes her intense and excruciating pain, distress,

      loss of quality of life, limited mobility and difficulty

      with the activity of daily life (ADC's) and no exercise,

      sleeplessness, awkword movments, discomfort and suffering,

      many of which over time will progress to complete joint and
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        distruction to ligament, articular tendon, and cartiage and

        ACL, disability, disfigurement, crippling or worse.

 24.    Throughout Plaintiff's years of unaddressed medical sick-

        call visits, cop-outs, and administrative remedies it was

        well-documented in Plaitiff's medical records to which the

        the BOP staff including Defendants McCullar, Griffen, Taylor

        B ailey, King, Warden Adduci, and (who will be known as

        once complete name are known to Plaintiff); that the Plaint-

        iff had initially injured her knee back in August of 2014,

        after entering FCI Ailiceville 4 months earlier, March 21,

       2014, therafter; that repeated medical kites for treatment,

       as well as medical recommendations for less conservative

       t reatment and degeneration,which persists to this day.

25.    As a result of Defendants conduct desribed herein Plaintiff

       r ight knee never healed properly, and as a direct result of

       this deliberate indifference~Plaintiff now suffers from

       constant pain and can not fully use or move both Q~
                                                           her
       legs without popping, partial dislocations, crunching,

       g rinding and often excruciating pain so extreme it even

       prevents Plaintiff from sleeping normally.

26.    There was no legal or medical basis to deny treatment to

       the objectively obvious, serious and debilitating injuries

       suffered by Plaintiff.

27.    Defentants are being sued in their official and individual

       capacities, as permitted by law.
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 28.    All Defendants named herein were fully informed and well-

        aware of the nature , scope, and severity of Plaintiff's

        injuries and the degeneration of Plaintiff's knees through

        over 2 years of extensively detailed sick-calls, letters,

        cop-outs, personal meetings and / or examinations of Plain-

        tiff, diagnostic reports and finding in Plaintiff's medical

        r ecords,and various phone calls and e-mails from Plaintiffs

        mother (as well as other pa-~ties cor,ce~neu ;~r; riaintiffs

        behalf).

 29.    As a dircet and proximate result of the deliberate indiffer-

        ence of Defendants, Plaintiff suffered the following injur-

        ies and damages:

            a.     Violation of her constitutional rights under the

                    First and Eighth Amendments of the Constitution

                   of the United States to be free from retaliation

                 for protected speech and to be free from cruel and

                 unusual punisment       inflicted by deliberate indiffe-

                 rence to an objectively serious medical need of

                 which Defendants were subjectively aware;

            b.   Denial of the Plaintiff's right to provide

                 adequate and / or treatment for herself, when the

                 Defendants refused to do so.

            c.   Loss of physical liberty; and

            d.   Severe physical injury causing humiliation,emot-~.

                 Tonal distress, pain and suffering, substantial

                 future medical and other out-of-pocket expenses.

P~,AINTIFF'S MENISCUS TEAR AND DEGENERATION


30.    Plaintiff incorporates by reference all preceding paragraghs
       of the Complaint as if fully stated herein.
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31.    Plaintiff suffers from a serious protrusion tear of the

       posterior horn medial meniscus, the cartilage of the medial

       menisscus is lodged between the outer knee joint, and the

       posterior cruciate ligament is lodged between the inner

       knee joint, causing degeneration due to the knee being

       unable to bend over a long period of time of walking of the

       injury.

32•    Regardless    of this obvious and test-confirmed condition

       the Plaintiff receives absulutely no care for this excruc-

       iatingly painful and destructive condition.

33.    The treatment for this particulr tear is a arthroscopy

       surery. Plaintiff was told by the Pickens County Med Center

       Orthapedic Socialist in 2016 that he informed the BOP

       this injury would not heal and a surgery is needed for

       relief, back in 2014.

34. The Plaintiff has fought vociferously for this treatment

      to no avail, even when the BOP ordered another MRI in hopes -,of

      this injury healing, the Pickens County Med Center Ortho-

      pedic Specialist would not perform this procedure because

      of the Plaintiff's gait, it was obvious this tear has not

      healed almost 3 years later, and he called the BOP himself

      and asked for the arthroscopy surgery. This appointment

      was on Feb 23, 2016.

35. Plaintiff has not been able to get the medical records

      from mid 2015 to present.

ADDITIONAL AND CONTINUAL DELAY~IN CARE FOR TORN MENISCUS

3h.   Plaintiff incorporates by reference all preceding para-
      ghraphs of this Complaint as if fully stated herein.

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 37.    Pliantiff has went to sick-call numerous times
                                                       for pain
        in her knee and was left sitting in the waiting
                                                        room for
        many hours then at recall the medical staff would
                                                          come out
        and tell he~to leave and don't come back        until your name
        appears on the call-out, which it never would.
                                                       The plaintiff
        was told by Defendant Taylor,not,to come back
                                                      to medical
        for her knee becau~=~ there is nothing they can
                                                        do about it.
        A t that time the Plaintiff was unaware the result
                                                           s from
        her MRI were back and the BOP knew a surgery was needed
                                                                but
        instead of approving the surgery the BOP decided not to

        give the Plaintiff any medical treatment for the torn men-

        iscus.

38.    Every step the Plaintiff take is painful, the orthopedic
                                                                at
       FCC Victorville explained to the Plaintiff in Apr. 2017,

       the reason it hurts so bad is because each step she takes

       is crunching down onto her tendon and tearing even more,

       and can cause a cyst or even infection and more damage.



INDIFFERENCE TO SHOULER INJURY

39.    Failure to put restrictions on the Plaintiff after the

       knee injury resulted in a      shoulder injury while Plaintiff
       was at work (see Ex. C)      The Plaintiff was told to move
       some tables (not following a direct order can result in

       d isciplinary action unless medical put a restriction
                                                             on
       the inmate so the inmate may take it to her job to give

       to the officer) The Plaintiff pulled a bone out
                                                       of place in her
       nick, but the Defendant Adduci said in a letter to the
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         Plaintiff, (see Ex. F) that the x-rays were negative. Yet

         the Pl'aintiff's collar bone is visibly uneven and her

         shoulder is in pain at the joint, neck and middle of
                                                              her
         back, and when the Plaintiff moves her arm it makes a

         popping, grinding crucnhing sound.       The Plaintiff's shoulder
        is now positioned lower than the her left side, and no
                                                               med-
        cal attention has been given except a pain shot by Defenda
                                                                   nt
        M cCullar in 2014, condition persist until this day.

 ~0.    The Plaintiff was given a work restriction for one month

        on October 24, 2014, that consisted of:

          (see Ex.C-1~              a. no prolong standing

                                   b. sedentary work only

        While the Plaintiff was at work she sat down for a few

        minutes and Defendant Adduci yelled at the Plaintiff for

        sitting down at work and told her,"she is not paying her to

        sit down."

GENERAL ALLEGATINS

41.    The following information was gathered after the Plaintiff

       received her medical records, the time frame for her records

       is from March 2014 to around August 2015. Any other current

       records after this date the Plaintiff has not received as

       of yet.   After the Plaintiff received her records, and for

       the purposes of writing up this law suit the Plaintiff has

       put all records in order according to dates of grievances

       and medical records to prove her case of retaliation and

       deliberate indifference by the Defendants.

42.    The Plaintiff filed a 8 1/2 or Informal Resolution Form on
       January 16, 2015. This complaint went to the Plaintiff's


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        Case Manager~Mr. Collins.       Mr. Collins turned it in to the

        D epartment the Plaintiff was complaining about, in this

        case~it went to FCI Alliceville Health Services. (see Ex. H)

 43.    In this complaint the Plaintiff states, "she has been to

        medical at least 6 different times: She says she wrote

        letters to the Warden and to medical records.         She wanted
        to know what was wrong with her leg, and she wanted to

        know what she can and can't do, so she would not hurt her-

        self again as with her shoulder.       She explains how she can't

       b end her leg when 'she walks.      She says she has been stuck

       like this for 7 months. In this complaint the Plaintiff

       says she had x-rays and a MRI and it's been 3 months and

       she can't get the results of the MRI or even a doctors

       appointment.    Then she says,      she was put on the call-out

       for a doctor's appointment, but when she arrived for appoin-

       tment she was notified that she was not going to be seen.

       The Plaintiff is begging for help and she states that her

       pain is bad. ( see Ex. H-1)

44.    This Informal Resolution was filed in January 16, 2015.           The
       Plaintiff's Case Manager, Mr. Collins gave it back to the

       Plaintiff 2 months later on March 13, 2015, unanswered and

       no solution was made.

45.    If the Plaintiff did not have medical records, she would

       not have known about a medical report filed by Defendant

       Negron 4 days before     the Plaintiff filed the Informal

       Resolution Form. (see Ex. G)

46.    This Defendant is claiming that he made an encounter with

       the Plaintiff on January_    12, 2015.    He also said he re-


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       viewed the MRI report and plan to continue with the self-

       instructed Physical Therapy.

47.    This report made by Defendant Negron, was a false report.

       He deliberately inserted into the Plaintiff's file.          The

       The obvious proof is no one from medical answered the

       Plaintiff's Informal Resolution stating no medical attention

       in months.

48.    This informal Resolution could have been        responded to,

       instead"this Defendant in this matter whom holds a supervis-

       ory or authoritative control and oversight regarding the

      P laintiff's care or access to care and the denials thereof,

      has made a deliberate and blatatly unconstitutional decision

       procedure and protocol for mandating denials of almost .every

      basic, common and proper form of testing, referrals, exam-

      inations, reviews, therapies, treatments, restorative care,

      concern, and attention to the Plaintiff's serious medical

      needs.   This report filed by Defend~~t Negron would later

      determine the medical care the Plaintiff receives and the

      denials the Plaintiff receive at every level.

      Yet this Defendant has      ever examined the Plaintiff and

      has no idea of the Plaintiff's health or condition,

      and the Plaintiff, as of this date January 16, 2015 has not

      received a Physical Therapy, self-instructed or other wise.

49.   The Plaintiff's next grievance was filed on or around March

      26, 2015.     This grievance is called a 9 1/2 or a Adminis-

      trative Remedy, it goes to the Warden in this case Defendant

      Adduci. (see Ex. I)



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 50.    Defendant Adduci received the 9 1/2 on April 7, 2015 and the

        initial dead line to answer was April 27, 2015. See Ex. J

 51.    The FCI Aliceville medical department had not given the

        P lantiff any medical attention for this torn meniscus since

        October 24, 2014, two months after the intial injury on

        A ugust 19, 2014.

52.     Defendant Adduci filed an extension of time for response to

       Administrative Remedy.      See Ex. M.    The response due date was
       m oved to May 17, 2015.

53.    During this time from April 7,2015 to May 17, 2015, the Def-

       endants scheduled 2 appointments with the Plaintiff.          Both
       appointments were with Defendant Griffin, one on April 30,

       2015 the other on May 6, 2015, 7 days apart from each other.

54.    The first appointment on April 30,2015 (See. EX. K).          The
       Plaintiff was finally able to tell the doctor of her pain in

       both of her legs,her back, and her shoulder.         Defendant
       Griffin refused to properly or adequately examine the Plain-

       tiff and gave her a knee exercise pamphlet (See EX.W ), and

       a spine conditioning program pamphlet (See Ex.X ).         Defendant
       Griffin told the Plaintiff if she does not do the exercises

       they will know because her knee will not heal.         He told the
       P laintiff to start walking right, and he informed her the re-

       quest for surgery was denied.

55.    This news was very devastating to the Plaintiff, but most of

       all it was confusin because in the Plaintiff's greivance she

       is asking for the surgery and Defendant Adduci .has not answered

       the Administrative Remedy, in fact, the Defendant asked for


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        a -extension to respond.

 56.    7 days later the Plaintiff had another doctors appointment

        with Defendant Griffin on May 7, 2015 (See Ex. L).          At this
        appointment Defendant Griffin poked the Plaintiff's right knee

        and squeezed her thigh muscle and he said, "she was loosing,muscle

        and her knee is still sensitive and discomforting.          At this
        a ppointment Defendant Griffin read the Plaintiff's MRI re-`

        port, and gave the Plaintiff a cane.

 57.    On May 29, 2015, the Plaintiff received the answer for the Ad-

        ministrative Remedy (See Ex. N).

 58.    In the answer it is noted that the Plaintiff is in pain with

        reduced mobility now for 9 months and the Regional Medical Director

       who is also Defendant Negron, has decided not to accept the

       orthopedic consultation at that time.        Plaintiff was advised
       to continue with self-instructed physical therapy, if symptoms

       persist after conservative managment then the BOP will con-

       sider the orthopedics consultation.

59.    On May 26, 2015 the Plaintiff filed a appeal to the Regional

       Office, asking, "why did the BOP give the Plaintiff a MRI

       then deny the requested solution?". (see Ex. 0)

60.    By this time the Plaintiff's right:. knee and foot has been

       swelling up after she does the physical therapy, and every-

       time she goes to medical, she is being told her leg should have

       healed by now by the traige nurse on staff that day, and then

       she is left sitting in the waiting room until recall and not

       being seen.

61.    Other officers in the prison was accusing the Plaintiff of
       faking. They were saying, "they seen the Plaintiff running


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        and dancing, taunting the Plaintiff.        Then, when they would
        see the Plaintiff holding on to her cane with both hands they

        laughed at her and said, "she is faking" instead of trying to

        help her and get her medical attention.

 62.    The Regional Administrative Remedy Office had until July

        29, 2015 to answer the Plaintiff's appeal (See Ex. 0-1).

 63.    On June 30, 2015 the Plaintiff went to sick call for pain in

        her heart.   They performed a EKG and a patient assessment

        a nd sent the Plaintiff back to the housing unit.        This ap-
       pointment would later be used against the Plaintiff to farther

       deny the Plaintiff of surgery.

64.    On or around July 20, 2015, the Plaintiff received the=answ-

       =er   to her appeal to the Regional Office.

65.    In the BOP's answer they say the Plaintiff was examined by the

       staff physician after undergoing an MRI on November 17, 2014.

       Before November 17, 2014, the Plaintiff was told by the staff

       physician known as Defendant McCullar that the Plaintiff would

       need a surgery.

66.    The BOP's decision to deny the Plaintiff's surgery was base-

       ed on the report from Defendant Negron on January 12, 2015,

       where the Defendant claimed he recommended the Plaintiff to

       continue with the self-instructed physical therapy instead

       of the orthopedic's recommendation for the orthroscopy sur-

       gery.

67.    The BOP's next reason for denying the Plaintiff this sur-

       gery was for a medical report that the Clinical Director

       known as Defendant Griffin, put into the Plaintiff's file


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       on April 30, 2015, where Defendant Griffin repoted that the

      Plaintiff admitted to not doing the physical therapy.

68.   At the time of this denial the Plaintiff was unaware of the

      report by Defendant Negron, claiming he recommended the Plain-

      tiff to continue with the self-instructed physical therapy.

69.   On April 30, 2015 Defendant Griffin gave the Plaintiff a

      physical therapy pamphlet which was the first time the Plain-

      tiff learned of the physical therapy.        Yet the BOP used this

      to deny the Plaintiff.

70.   The Regional Office also said in their denial," on May 6, 2015

      the Clinical Director or Defendant Griffin noted that the Plain-

      tiff made progress with the physical therapy". Even though the

      Plaintiff had just learned of the physicl therapy 7 days before

      May 6, 2015.

71.   Defendant Griffin told the Plaintiff on May 6, 2015 that her

      knee was still sensitive to touch and discomforting and she

      was losing muscle and his patient assessment noted "Not Improved

      /Same.

72.   Yet the Regional Office claimed the Plaintiff is making pro-

      gress and the Plaintiff is advised to make a good effort

      to consistenly perform her self-therapy and she would be mon-

      itored for progress.

73.   Regional advised the Plaintiff to report to sick-call for any

      adverse changes.

7     The Plaintiff went to sick-call numerous times for swollen foot

      amd knee only to be left in the waiting room while everyone else

      would be seen.   Then at recall R6e I from medical would come


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        out yelling at the Plaintiff about how she would not be seen

        and to wait for her name to appear on the call-out.           Except
        far -the June 30, 2015 visit to sick-call for pain in her heart.

        The Plaintiff was seen by Defendant Bailey, in Defedants Bailey

        medical report was one of the reasons the Plaintiff was denied

        the surgery. This Defendant reported the Plaintiff had a normal

        gait and did not voice any problem pertaining to her knee.

       (See Ex. P)

 75.    The Plaintiff has followed all the rules since being in prison

        and has not been wrote up for doing something she has been

        told ~y a Federal Officer not to do.        Now the Plaintiff. is- being
       denied a surgery that is needed, in order for Plaintiff to
                                                                  be
       able to walk normal without falling down, or even just bend

       down to do the things that any person her age does, the Plaintiff

       wants her life back.      This day the Plaintiff followed the rules
       that the Health Department has told her and all the other

       inmate in times past. FCI Aliceville Health Services has
                                                                made
       it clear to the inmates not to come to medical for more than

       one problem.    Now, the Defendants say the Plaintiff should

       h ave voiced her knee problem.      Yet all the other sick-call
       visit for her knee were ignored,but the sick-call for her

       heart pain was answered.      The Defendants know their rules
       a nd they know the Plaintiff is not allowed to complaing about

       more than one problem at a time.       The Plaintiff chose her
       heart over her knee pain that day, but that does not mean

       her pain has went away.

76.    Defendant Bailey also reported the Plaintiff presented with




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        a normal gait.

 77.   The Plaintiff has been walking favoring her right leg now for

       11 months now when Defendant Bailey made her report on June

       30, 2015.   Maybe to this Defendant the Plaintiff's limp is

       normal, the way the Pliantiff has to drag the right leg and

       put all her weight on the left leg, and the left leg is

       barely able to take another step leaving the Plaintiff

       with a awkward 2-way limp.       Maybe to Defendant Bailey the

       Plaintiff's gait is normal, but not to the Plaintiff.

78.    Regional also stated,"Medical Care will continue to be provided

       consistent with BOP policy!.

7g,    The Plaintiff has never been seen when the pain is at it's

       worse and her foot and knee are swollen.        The BOP will

       neither treat nor even address any damages from this condition.

       Instead the BOP have attempted     to diminish it by saying the

       Plaintiff allegedly claims to have a torn meniscus and wants

       surgery for relief, in her medical file.        The Plaintiff is

       suffering from a serious, and advancing prominent tear post-

       erior horn medial meniscus that is causing more damage to the

       Plaintiff's entire body and no medical treatment is being

       done except for pain medication that is causing more problems

       to the Plaintiff's liver and internal organs.

8Q.-   The Plaintiff has tried to get medical attention many times

       after doing the physical therapy but to no avial, visits where

       the Plaintiff was sent back to the housing unit, after waiting

       for over 7 to 8 hours in the waiting room at medical, every

       other person seen except the Plaintiff where not recorded in



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        her medical file, but the one time the Plaintiff left after

        waiting for 2 days to be seen Defendant King recorded," Inmate

        left health services prior to being assessed." Defendant King

        also reported that the inmate was upset because she states,

       "I was here all day yesterday and got sent back". Inmate was

        to remain in health service to have her foot assessed.

       D efendant King failed to mention that when the Plaintiff arrived

       at medical, Defendant King would not let her into medical,

       D efendant King told the Plaintiff there was nothing wrong with

       her foot if she was able to get to medical, The Plaintiff told

       D efendant King she helded onto her cane with both hands

       putting all her weight on the lef~tleg and arms dragging the

=--=   right leg.    Defendant King was very upset with Plaintiff and

       showed it by leaving the Plaintiff outside for a few more

       minutes then decided to let her in. By that time the Plaintiff

       was very upset that Defendant King was treating her so badly,

       so the Plaintiff told Defendant King,"thats why I'm reporting

       ya'll".    Defendant King told the Plaintiff," You don't have to

       come over here".    The Plaintiff understood that statement to

       mean that Defendant King will not help her and if she does she

       might "accidently hurt her".      The Plaintiff reasoned with this

       for over 3 hours in the waiting room while everyone there was

       seen and dismissed leaving the Plaintiff in the waiting room

       alone, so the Plaintiff decided it's best to leave on the

       next 10 minute move, after that visi:~=.the Plaintiff just

       accepted   that she was not going to get help. (See Ex. R)

81.    The Plaintiff appealed the Regional Office decision         only
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       because she is racing against the time to save both of her

       legs from disability, disfigurement, crippling, and total

       d isstruction.   Because of a direct result of these Defend-

       ants improper and inadequate treatment.        The Plaintiff's
       release date is in the year 2026, that is along time to

       have to suffer in this condition when it could have been

       helped.

82.    Plaintiff incorpates by reference all preceding paragraphs

       of this Complaint as if fully stated herein.

83.    The Plaintiff is directed through administrative remedies

       r esponses by the Defendants to continue to resolve her issues,

       which are not answered (or properly acted upon) and for which

       the Plaintiff must therefore file a grievance to call atten-

      tion to her medical needs, creating a continuous circle of

      shuffled, repeated paperwork that never approaches resolving

      the Plaintiff's serious medical needs.        This process is repeated
      until, as the Defendants hope, the Plaintiff ultimately gives

      up her attempts to acquire adequate treatment and accepts the

      situation as it is (until further harm develops as a result,

      as has happened repeatedly with inmates such as the Plaint-

      iff and did happen with regard to the Plaintiff's knees).

84.   Additionally,although numerrous of the Plaintiff's medical

      administration. remedies are summerarized a referenced spec-

      ifically with their individual identification number, the

      Plaintiff's administrative remedy record in it's entirety,

      provides the best evidence    of the Plaintiff's repeated

      attempts to utilize the administative remedies available


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       to her.     In addition to the following paragraphs, the

       Plaintiff incorporates this finite and accessible grievance

       as if fully stated herein.

85.    In the month of August 2015 the Plaintiff filed a Central

       Office Appeat to the General Counsel, this grievance was

       rejected along with all the other grievances the Plaintiff

       has filed in the past. (see Ex. S)      The Central Office gave

       the Plaintiff a reject reason for all 4 admenistrative remedies

      and told      the Plaintiff she has 15 days to resubmit all rem-

      edies in the proper form.

86.   The Plaintiff refilled all remedies on November 14, 015

      (See Ex. S-1)     The Central Office had a response due date

      on Feburary 8, 2017 (See Ex. S-2)

87.   The Central Office tried to get a extension. (See Ex. S-3)

88.   Shortly after the Plaintiff filed the Grievance to the

      Central Office the Plaintiff was scheduled for a doctors

      a ppointment on November 24, 2015.

90.   This appointment was with Defendant Griffin at this time the

      Plaintiff was able , for the first time, to explain to the

      D efendant    how the physical therapy makes her foot and knee

      swell.     The Plaintiff was concerned about not being able to

      do the physical therapy because it hurts to try to perform

      the self- instructed therapy.      The Plaintiff told Defendant
      Griffin the straight-leg lifts, hamstring curls, wall squats

      step-ups, quadricep stretch, and the single leg dips seem to

      hurt more than help    (See Ex. W). At that time Defendant

      Griffin told the Plaintiff she is not suppose to do those kinds

      of exercises.    That was very confusing to the Plaintiff because
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         7 months earlier this Defendant told the Plaintiff, "if she

         does not do the phycical therapy they will know because her

         leg will not heal," now 7 months later the same Defendant is

         saying the Plaintiff was not suppose to do these kind of exe-

         rcies.

 91      The Regional Director on July 20, 2015 advised the Plaintiff

         to make good effort to consistently perform her self-instructed

         e xercises, and told her she would be monitored. They told the

        Plaintiff to report to medical for any .adverse changes. Yet

         this Plaintiff could not get any medical attention for her

        knee pain after doing the physical therapy.

92.     In the Central Office answer, they noted Defendant Griffin

        e xamination on November 24,2015, with no improvement. I ISee Ex.

        T~ ~   At that time Defendant Griffin submitted a consultation

        for evaluation by an orthopedic specialist.

93. ,   The Plaintiff was told a appointment will be made,in-the mear

        future, and further treatment will be considered based on

        the orthopedic specialist's recommendations.

94.     The Central Office said the records reflects the Plaintiff is

        receiving medical care and treatment in accordance with evid-

        ence based standard of care and within the scope of services

        of the FBOP.    Which consist of a cane and a lower bunk pass

        as well as Ibuprofen for pain.

95.     Upon information and belief, none of these Defendants have ever

        denied the medical concerns raised by the Plaintiff in this

        Complaint; rather they simply elected to ignore and supply

        absolutely no meaningful treatment for the Plaintiff, falling


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        well short of the community standard of care.
 96.    On February 23,2016 the Plaintiff was taken to Pickens

        County Medical Center to finally see a orthopedic specialist.

        At that time the Orthopedic Specialist Alexander Lushington,

        Jr. MD became very upset that the Plaintiff now almost 2 years

        later still has not received the arthroscopy procedure.              Dr.
        Lushington informed the Plaintiff that the BOP wants him to

        perform another MRI, but he refused to do so because he told

        the Plaintiff this kind of tear does not heal. Dr. Lushington

        also told the Plaintiff that he informed the Defendants in

        2014 this meniscus tear will not heal and he recommended

        the surgery at that time to the BOP. -     Dr. Lushington performed
        x-ray instead of a MRI because he wanted to see how much

       damage has been done to the Plaintiff bones because of the

       physical therapy and because the Plaintiff has been walking

       on this injury for a long time.       Dr. Lushington told the
       Plaintiff if you tore this meniscus in 2014         then it is still
       torn now in 2016.    He also said the arthroscopy surgery might
       not help the Plaintiff now, because to much damage has already

       happened to the cartilage because of natural traction and

       increase in size because of tumor like swelling of the cart-

       ilage.   Now the Plaintiff might need a full knee replacement.

       (See Ex. T-1)   At that time Dr. Lushington called the BOP him-

       self and asked for the surgery. then he had the Plaintiff sign

       surgery consent forms. No surery has happened to this date.

97.    In fact all medical treatmentfor this BOP inmate has stopped

       after the February    23, 2016 appointment with Dr. Lushington.

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        Including the Plaintiff's chronic care for fibroid tumors,

       (See Ex. T-2)     The Plaintiff has been left on medication

        that is causing more harm then good.

 98.    Defendant Griffin informed the Plaintiff in 2014 that he will

        Perscribe Norethindrone/Ethinyl for a short period          of time
        because he said it is not good for her system. Pickens

        County Medical Center recommended a Depoprevera shot to shrink

        the tumors.    Instead Defendant Griffin went with the Nore-

        thindrone/ Ethinyl birth control pills.

99.    In retaliation for filling numerous grievances these Defendants

       has decided to leave the Plaintifff on this medication and

       n ot follow through with any procedures that were already in

       progress to relieve the Plaintiff of these fibroid tumors.

100. In fact the side effects from this drug is causing blood

       clots in the Plaintiff's eyes and. pain and tenderness in the

       Plaintiff's stomach internal pains causing the Plaintiff to

       double over holding her stomach until the pain passes (See Ex.

       X-1)

101. Defendant McCullar informed the Plaintiff in 2014 that she

       will perscribe Ibuprofin 800 for pain, (See Ex. Bl for a short

       period of time because it causes liver damage as well as dam-

       age to your internal organs.      As of this date there has

       never been any test or follow-up appointments in regards to

       the side effect of these medications.       Now the BOP is using
       this short term medicine as treatment for this Prominent

       tear posterior horn medial meniscus.

102. The Plaintiff's condition has never improved in the slightest.
       by taking Ibuprofin as a matter of fact it doesn't help ^-her

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     at all.

104. The Plaintiff's last visit to FCI Aliceville Health Services

     was in 2016, the Plaintiff's name came on the call-out for

    medical.   When the Plaintff arrived to her visit she met with

    Hefendant RoeX      who informed the Plaintiff at;tY~at time, that

    the BOP does not want to pay for the Plaintiff's knee surgery.

    He also told the Plaintiff that she also has fibroid tumors;

    that is going to cost a lot of money.       Defendant Roe-X said,
    "the BOP will not tell you this, they are just going to deny

    you the surgery".    He also said, "that the only reason the
    orthopedic is asking for the surgery is because he wants to

    make the money".    At that time the Plaintiff reported again

    that her left leg is in excruciating pain, because she is put-

    ting all her weight on the left leg because the injured leg

    is also in excruciating pain, Defendant Roe-X told the Plain-

    tiff she can't prove that's the reason her left leg is hurting.

    Defendant Roe-~ never mentioned the Plaintiff's shoulder.

    The Plaintiff informed the Defendant of a inmate name Stacy

    McIntyre who tore her meniscus in '2015 at FCI Aliceville, the

    BOP gave her the knee surgery.      McIntyre injured her knee while
    playing baseball, the Plaintiff had been told       by other medical
   staff that she ~(Plaintiff~ would get the surgery because she

   (Plaintiffs has a long sentence.       If the Plaintiff had a
   short sentence    the BOP would not give the surgery. Yet this

   person Stacy McIntyre received this surgery and she had a very

   short sentence.     The Plaintiff knows this because When Stacy

   McIntyre came back from receiving the knee surgery, the entire
   ~apulation at FCI Aliceville came to the Plaintiff and informed

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      the Plaintiff of this inmate and introduced the Plaintiff to

      Stacy McIntyre.    At that time the Plaintiff asked McIntyrey and

      she told the Plaintiff all this information before she was

      released.   The Plaintiff also told Defendant Roe-X of another

      inmate she met here    ~ FCI Aliceville who received the sur-

      gery to remove the tumors off of her uterus instead of a hys-

      terectomy, which is the procedure Defendant Griffin told the

      Plaintiff she would get to prevent droppage.




 105. In the Plaintiff's case, these violations have been especia
                                                                  l-
      ly grievous since they have permitted the Defendants to simply

     "pretend" that the Plaintiff is "fine" solely "because thay

     say so" not backed up by any qualified expert, diagnosis, or

     test. For example, Defendant Griffin saying, "the Plaintiff

     has improvement."     Defendant Bailey saying, "the Plaintiff
     has. a normal gait."    Defendant Adduci saying, "the Plaintiff's
     x -rays are negatives

106. Plaintiff waited a few months before going to the next
                                                            level
     in her complaint.    On March 25, 2016, Plaintiff filed a 2241

     in the Northern District of Alambama.       Asking the court to
     help her receive adequate medical treatment and monetar
                                                             y dam-
     ages.   The District court of Alabama advised the Plaintiff to

     file a Bivens for this type of case.       The Plaintiff filed the
     Bivens, but was unable to pay the court fees, so the
                                                          court
    ~2~missed the case without Prejudice.

107. The Plaintiff's last resort before filing this lawsuit
                                                            was a
    Tort Claim for Inadequate Medical
                                      Treatment, for a prominent

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      Tear Posterior Horn Medial Meniscus.        The Plaintiff asked for
      $2400.00, for property damage because the Plaintiff could
                                                                not
      work to her full capacity due to the injury that was
                                                           not pro-
      oerly treated.    The Plaintiff asked for the sum of $14,000,000.00
      for personal injury.     The Plaintiff asked for this amount
      because the Defendants knew by the MRI that this menisc
                                                              us tear
      was torn beyond repair in 2014, and needed to be remove
                                                              d in a
      timely manner to prevent further damage, yet nothing
                                                           was done.
      Furthermore the Defendants had the orthopedics recomm
                                                            endation
      and still did not help the Plaintiff. Now the Plaitiff
                                                                          x-
      rays shows fluid on the knee, arthritis, bone fragments,

     joint degeneration, and other damage not yet known
                                                        of~leaving
      the Plaintiff's future in question of will she be able
                                                             to walk
     be the time she 45 years old.      (See Ex. U))   The Defendants
     BOP said, " the Tort Claim is denied because ther was
                                                           no
     indication that the Plaintiff has suffered injury becaus
                                                              e of
     the negligence of the BOP employees acting within the
                                                           scope
     of his or her employment. (See Ex. V)

108. Plaintiff asserts that the named Defendants in this
                                                         matter
     each have personal responsibility and liability for
                                                         the
     claims made herein, to include each having intimate
                                                         know-
     ledge of the facts asserted, including the Plaint
                                                       iff's
     serious medical conditions and intense suffering.

109. Defendants named herein were made fully aware
                                                   of the Plaint -
     tiff's serious medical conditions and intense suffer
                                                          ing
     via direct, face-to-face contact as well as the above

    mentioned grievances and medical kites the finite
                                                      and acc-
    essible records of each Plaintiff incorporates by reference


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      as if fully stated herein) and had the full authority to rem-

      edy     said suffering, and had legal, moral and professional

      responsibility to act, protect, and provide appropriate care,

      assistance and / or relief for the Plaintiff.

 DEFENDANTS

 110. Additionally, Plaintiff refers to "Defendants" generally due

      to the collaborative nature of this 3 year- long practice of

     d eliberate indifference and retaliation towards the Plaintiff's

     as well as the medical and grievance records incorporated

     herein, additionally clarify how each of the individual Def-

     endants named herein played their "role" in this collaborative

     scheme 'beyond the allegations specific to individual Defendants

     listed below

DEFENDANT ADDUCI

~~1. Defendant Adduci, as Warden of FCI Aliceville was personally

     involed in the deniel of all of the Plaintiff's medical

     grievances, acknowledged Plaintiff's concerns, needs and

     suffering by "parroting" her specific claims in her deniel of

     Plaintiff's grievances.

112. Defendant Adduci further refused to provide any aid or ass-

     istance, or to require staff under her control         administrative
     and medical), to provide the Plaintiff with proper care, and

     attention or relief.

113. Additionally, Plaintiff     had this Defendant contacted on mult-

    iple occasions to no avail. Yet this Defendant added
                                                         hardship
     to the Plaintiff's injury by not allowing the Plaintiff to sit

    down while working, even though medical had a restriction on

    the Plaintiff for sedentary work only.


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  DEFENDANT NEGRON

  114. Defendant Negron's one and only report set in motion a train

         of inadequate medical treatments after reading the Plaintiff's

         MRI report in 2014.     Knowing at that time the Plaintiff's

         meniscus tear was unrepairabl~, Defendant Negron having never

         had a encou~,tr~r with the Plaintiff, made a decision not based

         on medical reports but on out-of-pocket expense which was the

         self -instructed physical therapy.      Only to find out a year
         later the physical therapy was the wrong exercise for a torn

         meniscus.

 D EFENDANTS NEGRON, GRIFFIN, AND McCULLAR

 115. These Defendants had the full responsibility for ensuring the

        safety, health and well-being of the Plaintiff and ensuring

         that she received timely, prompt, and adequat medical care.

116. As the Plaintiff has had meetings with Defendants Griffin,

        McCullar and as they have the greatest amount of direct con-

        trol and personal responsinility for the pain and suffering

        the Plaintiff endured and continues to endure, the majority

        of the Plaintiff's grievances directly revolve around these

        Defendants.   Defendant Griffin falsifing the Plaintiff med-

        cal records, and both Defendants not telling the whole truth

        to ensure a denial of adequate medical care.

~~1t~   These Defendants have been repeatedly informed of the Plain-

        tiff's medical conditions, pain and suffering to include via

        the Plaintiff's own letters, grievances, and medical records

118. These Defendants personally met the Plaintiff where she detaile
                                                                     d
        her pain and suffering as well    as her conditions and their
        effects.
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 119. Each Defendant decried the expense of treating the Plaintiff

     and alleged some "threats from higher up," which require them

      to restrict care they otherwise knew was medically necessary.

120. Defendants Griffin and McCullar admitted to knowing the Plait-

     tiff suffered from numerous inflammatory conditions, incredible

     pain, sleeplessness, distress, suffering, ligaments and joint

     damage particulary in the Plaintiff's deteriorated knees, hips]

     shoulder and back~ ~~non of which received adequate attention,

     evaluation, or care under the accepted community standard

     of medical treatment

121. Each Defendant refused to properly document Plaintiff's con-

     cerns, to make proper referrals to specialists,or to permit

     proper testing or follow-ups.

DEFENDANTS GRIFFIN, BAILEY, AND ACING

122. These three Defendant Bailey, ~Ci.ng, and Griffin worked the

     most in "tandem" to retaliates against the Plaintiff, to

     m anipulate denials of care at every ~~~el; to~~f~u~tra~e,~~amper

     or completely block the Plaintiff's attempts to obtain her-

     self adequate medical care for 22 years.

123. Plaintiff has been denied medications,       examinations, reviews
     and access to actual qualified health care providers for personal

     non-medical, vengeful and retaliatory reasons by these Defend-

     ants.

124. These three Defendants retaliated against the Plaintiff by

    falsifing the Plaintiff's medical reports and medical reports

     that are misleading,to assure a denial of surgry, and leaving

     the Plaintiff in the waiting room for sick-call and set

    a ppointments.


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 DEFENDANTS ICING, BAILEY, TAYLOR, AND ROES I-X

 125. these Defendants     are FCI Aliceville nurses, physicians,

      working in either "facility" or "administrative/regional"

      capacities.    Each Defendant had personal knowledge of the

      Plaintiff's pain, suffering and related untreated medical

      n eed.

126. As detailed in Plaintiff's many sick-call visits and griev-

     ances ~ ~ which, as a    finite and accessible record, Plaintiff

     incorporates as if fully stated herein          She    either met with
     personally contacted each of these Defendants on her behalf

     regarding her serious medical conditions and needs.

127. Each Defendant had the authoity and duty to provide         the Plain-
     tiff some type of relief for these serious medical needs, but

     d eliberatly failed to do so.

128. Each of these Defendants also refused to properly review,

     answer or act upon the Plaintiff's grievances, or to properly

     thoroughly examine her, or see that she was examined, refer

     her to an expert or to document here-tailed           complaints, con-
     ditions, and suffering.

129. These Defendants in a discrete way, accused the Plaintiff of

     faking and even said," her knee should have healed already".

     The De€endants attempts to down play the Plaintiff's injuries

     are deliberate indifference, retalitory and malicious actions.

130. Defendant fCing retaliated against the Plaintiff by intimidating

     the Plaintiff with a face-to-face confrontation. Not allowing

     the Plaintiff to enter Health Services while she is in excru-

    ciating pain to frustrate the Plaintiff then threatening the
    Plaintiff by telling her, "she don -'t have to come over here".

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  X31. Defedant Bailey retaliated against the Plai
                                                   ntiff by not seeing
       her for any sick-call visits pertaining to
                                                  her knee, instead
       waiting for a opportunity to discredit the
                                                  Plaintiff for any
       other medical visit not concerning the Plaintif
                                                       f's knee knowing
       the inmates can only report one medical conc
                                                    ern at a time.
       Yet Defendant Bailey took the opportunity to
                                                     report
      a bout the Plaintiff knee while the Plaintif
                                                   f was at medical
      for chest pains trying to deflect the
                                             Plaintiffs knee pains
      as no problem.

 132. The Informal Resolution the Plaintif
                                           f filed in 2014 went from
      the Plaintiff's counselor Mr.Collins
                                            to Defendant Taylor, it
      was th2s Defendants responsibility to
                                             have this Informal
      Resolution answered, yet it was delibera
                                               tly ignored. Allowing
      Defendant Negron's false encounter with
                                               the Plaintiff to go
      unanswered leaving this fraudulent
                                         inadequate medical treatment
     in the Plaintiff's file.
D~~E~DANT FEDERAL BUREAU OF PRISONS.

X33. Plaintiff incorporates by reference all
                                             preceding paragraphs
     of this Complaint as if fully stated here
                                               in.
134. This Defendant is/was the FCI Alicevil
                                            le Grievance Coordinator
     d uring the relevant time period containe
                                               d in this Complaint.
135. In this role, the Defendant has pers
                                          onal control, direction
     and oversight in the BOP Grievance Procedur
                                                  e.
135. The Defendants duties include the resp
                                            onsibility to see that
     the Plaintiff's grievances are properly
                                              reviewed, assigned
     and answered.

136. This extends to a notation to staff
                                         made on top of every
    memorandum she sends to medical personne
                                             l to answer the

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         specific claims of the Plaintiff.

    137. Regardless of this duty and contrary to policy, procedure,

         and the Plaintiff's repeated complaints(a~so clearly identified

         in grievances), this Defendant has never required the other

         Defendants to properly answer the Plaintiff's well-drafted

         detailed grievances.

    138. Defentant has, through medical grievances, been made fully

         a ware of the entirety of the Plaintiff's injuries, suffering

         and the need for medical treatment and took absolutely no

         steps to see that the responsible parties were held account-

         able of that the Plaintiff received any appropriate care.

    VIOLATIVE POLICIES,PRACTICES AND CUSTOMS OF FCI ALICEVILLE MEDICAL
    S UPERVISORY DEFENDANTS

    X39. The Defendants in this matter whom hold..-supervisory       or
         authoritative control and oversight regarding the Plaintiff's

        care or access to care and denials thereof, have maintained

        a deliberate, consistent and blatantly unconstitutional pattern,

        practice, custom procedure and protocol for virtually mandating

        denials of almost every basic, common and proper form of test-

        ing, referrals, examinstions, reviews, therapies, treatments,

        medications, restorative care, concern, attention to the Plaint-

        fiff's serious medical needs and an almost wholesale refusal

_       to properly listen to, record or act upon the complaints,

        ~•oncerns and medical distress either expressed by the Plaint-

        tiff or which would be obvious to any skilled medical prac-

        titioner and in most cases, to even the common layman.

140. Defendants refuse to properly or adequately examine the

        Plaintitt, a complaint made by thousands of other BOP prisoners.

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 141. Defendants refuse to listen to the Plaintiff's concerns,

      refusing to provide sufficient time to express them, and will-

      fully and deliberately refusing to record those concerns in

      her medical record, to protect themselves from future review,

      to ensure that there is no detailed record of the Plaintiff's

      persistent complaints and attempts to access proper care, and

      to ensure there is no full~ ~and therfore condemning) record

      that would be available to an attorney, review board, court

      or jury, a complaint also made by thousands of other BOP
                                                               pri-
      doners.

 142. Defendants have a practice, policy and custom of automat
                                                               -
      ically denying any requests for treatment beyond a cursory

      and half--.hearted"examination" after which an order of
                                                              little
     m ore than anti-inflammatory drugs( ' such as Ibuprofin 80G)
                                                                  is
     given, if anything. ('~ ~most commonly, nothing is prescibed.)

143. Defendants maintain a regular practice of automatically
                                                             dim -
     fi nishing, mocking, degrading and otherwise demonstrating comp-

     lete indifference to the Plaintiff s incredible pain and

     s uffering,demeaning her presentations of pain even with
     knowingly painful conditions such as torn meniscus causing

     fluid and arthritis to set into her joints.        gnoring Federal
     Fain Management Guidelines, telling the Plaintiff,"you are

     n ot in pain" or "does not appear to be in much pain"

     a complaint also made by thousands of other BOP prisoners.

144. Defendants retaliated against the Plaintiff for grievan
                                                             ces and
     complaints to include taking away minimal care provided,

    where the Plaintiffs;conditions did not in the least
                                                         lessen,
    heal, or resolve and where the Plaintiff reported no such

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     alleviation of her suffering.

145. Defendants -agree to"ignore" or deny care for obvious con-

     ditions, such as the Plsintiff's torn meniscus and fibroid

     tumors, pain and progressive damage, to create the illusion

     that they "do not exist" regardless of evidence, test results,

     diagnostics and Plaintiff's self-reporting and regardless of

     the Plaintiff's obvious suffering and need for care,          common
     practice which knowingly creates a "wall of resistance" to

     all other care providers giving consideration to Plaintiff's

    complaints.

146. Thus for example, this action relative to the Plaintiff's

     torn meniscus and fibroid tumors the Plaintiff has had to

    keave FCI Aliceville in hopes of getting proper medical

    attention at another FBOP.      Yet here at FCC Victorville the
    medical staff are baffled because of the~Plaintiff's medical

    records. In the Plaintiff's medical file are incomplete

    treatment    complaints and surgery forms signed by the Plain-

    tiff, leaving FCC Victorville with the assumption the Plain-

    tiff has had a surgery.      Yet the obviousgai-t of the Plaintiff

     and the over-sized tumors sows her condition has become
    worse.   FCC Victorvilie informed the Plaintiff that FCI

    Aliceville should have put a medical hold on her until they

    were done with their treatments. Dr. Quinn here at FCC Vic-

    torville told the Plaintiff that FCI Aliceville is expecting

    them to pay for her treatments, and that is the why they

    moved her.    FCC Victorville does not know where to start in

    treating the Plaintiff because her medical file is confusing.

    Leaveing the Plaintiff to suffer langer not knowing what
                                                             will

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      happen next, or if any medical treatment for reli
                                                        ef will ever
      happen.

 147. Each Defendant had absolute authority to prov
                                                    ide the Plaintiff
      with timely proper referrals to specialists,
                                                     testing and
      follow-up care, and in violation of their prof
                                                     essional
      duties as physicians, these Defendats refused
                                                    to do so.
 148. As discussed above, the Defendants has exhi
                                                  bited their
      deliberate indifference to Plaintiff's most
                                                  basic medical
      needs in blatanly, and at times fraudulently,
                                                    retaliatory
      fashion.

 COUNT 1
 First Amendment Violations- Retaliation

149. Plaintiff incorporates by reference all
                                             preceding paragraghs
     of this Complaint as if fully stated herein.

150. Whent the events contained in this Complain
                                                 t occurred,
     Defendants McCullar,Griffin,Neg
                                     ron,Bailey,ECing,Adduci,       -and
     Roe I-X were acting within the scope of
                                             their employment and
     under the color of law.

151. The First Amendment of the U.S. Cons
                                          titution provides, in
      pertinent part,that "Congress shall make no
                                                   law abridging the
      freedom of speech, or to petition the
                                            Government for a redress
      of grievances".
152. By filing the Administrative grievances agai
                                                  nst the Defend-
     ants the Plaintiff engaged in First Amendment-pr
                                                       otected con-
     duct,as these geievances sought redress in
                                                 the"adjudication
     level of the facility (or, in the alte
                                            rnative, in these
     Honorable Courts, which require such atte
                                               mpts at securing
     administrative remedy before filing suit
                                              ).


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 153. As a direct and proximate result of the filing of these griev-

      ances, and other compaints has well as the assistance of other

      officers retatiation), the Plaintiff suffered adverse action

      through retaliation, including the removal of the Plaintiff's

      medical care for other serious medical issues, leaving the

      Plaintiff in the waiting      room for sick-call and set appoint-
      ments, recording false information in the Plaintiff's medical

     file, and the non-recording of important fact,details and

     questions posed by the Plaintiff at these "medical encounters"

     the retaliatory transfer from the FCI Aliceville Facility

     with out putting a medical hold of the Plaintiff to complete

     the Plaintiff's medical needs, and other officers harassing

     the Plaintiff "playing" saying "she's faking".

154. Although the Plaintiff's incorporated grievance record does

     not identify the percise involvment of each of these individ-

     ual Defendants with regards to their        particular actions of
     r etaliation, once the Plaintiff received her medical records

     she was able to see the flagrantly suspicious timing of Defen-

     dants adverse actions demonstrates a clearly causal connection

     between the protected conduct (Plaintiff's grievances) and the

     adverse action (listed above and also with Plaintiff's

     grievance record,which is fully accessible to Defendants

     and is incorporated as if fully stated herein):

A.   Defendants Griffin and Bailey retaliated against the Plaintiff

     by filing flagrantly false and contradictory medical notes in

     the Plaintiff's medical file, to manipulate a denial of ad-

     equate care.

~:   Defe~idant fCing further retaliated against the Plaintiff by

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       personally confronting Plaintiff and telling her, "she does

       not have to come to medical" if she does not like the way they

       a~.~-treating her.

 C.    Defendants further retaliated against the Plaintiff by tell-

       ing her, "her leg should of healed already".         Then would not
       put her on the call-out for medical in an attempt to "frustrate"

      the Plaintiff for her complaints about the medical staff un-

       professional conduct with the Plaintiff.
D.    Defendant Griffin retaliated by not addressing the Pl.aintif~'S

      complaint about her left leg.       Defendant Griffin laughed it
      off and said, "it was because the Plaintiff is over weight".

      Defendant Griffin retaliated by refusing to listen to or docu-

      ment the Plaintiff's medical concerns, or provide her with

      any sort of acceptable medical examination.         Defendant Grif-
      fin filed false claims in the Plaintiff's medical records in-

      cluding a false claim that the Plaintiff admitted to not do-

      ing the physical thera~ay, then said,"she is making progress';
      and lastly stated~``no improvement.'

COUNT II
Eighth Amendment Violations

155. Plaintiff incorporates by referecne all preceding paragraphs

      of this complaint>;as~if fully stated herein.

156. The Eighth Amendment of the U.S. Constitution provides,in

      pertinent part, that cruel and unusual punishments not be

      inflicted.

157. Defendants decision     to withhold adequate menical care and

      treatment from the Plaintiff, while she is in the FBOP custody

      violates her constitutionally protected rights.



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 158. Defendants further decision to adiminister~
                                                  a drug ( ibprofin
      800) that damages the liver without informing the Plaintiff of

      the risk if the Plaintiff has ever had liver damage, and to

      continue the administration of this drug for over 3 years

      constituted deliberate indifference, particularly when the

      Defendants never did a follow-up test or examine the Plaintiff

      for damages.

 159. Defendant Negron's decisionf to falsely report a -.encoun
                                                                ter
      with the Plaintiff and false treatment is constituted as

      d eliberate indifference, particularly every decision after

      that report guaranteed a denial of adequate medical care.

160. Defendant Griffin's decision to give the Plaintiff a self-

     instructed Physical Therapy that causes more harm and damage

     to the Plaintiff's ligaments, cartilage, tendons, and joints

     also constituted deliberate indifference, particulary when

     when the damage suffered by the Plaintiff's. right knee _.and

     foot kept     swelling-up and the Defendant never examined the

     Plaintiff or even had knowledge of the exercises contained

     in the self-instructed Physical Therapy Packet.

161. Defendants ECing and Bailey's decision       to minimize the
     Plaintiff's serious medical needs to assure the Plaintiff

     does not receive adequate medical care shows deliberate

     indifference to the rights of the Plaintiff.

     This indifference violated her constitutionally protected

     Eighth Amendment right to be free from cruel and unusual

     punishmint.

162. As a direct and proximate result of Defendants actions,
                                                             the
    Plaintiff suffered physical and emotional injury,disabil
                                                             ity,
      Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 39 of 93


       permanent damages, humiliation, and other constitutionally

       protected rights and damages as described herein.

163. Defendants McCullar, Griffin, Bailey,iCing,         Taylor, Negron,

_.,   and Roe I-X at FCI Aliceville Medical Department committed

      the Constitutional violations described in this Complaint as

      a result of the training and/ or lack of training, policies,

      procedures, and customs adopted and enforced by Defendant
      FBOP, and defendant Adduci, in addition to the lack of dis-

      ipline implemented by the Department with regard to ensuring

      proper medical care and review.

164. Defendant Adduci, Regional Medical Director acted with

      diliberate indifference or:failed to act by failing to properly

      train, monitor, direct, disciline, and supervise their medical

      and/ or correctional staff, and knew or should have known that

      their medical staff,specifically Defendants Griffin, McCallar,

      Bailey, icing, Taylor, Negron, and Roe I-X would continue to

      engage in improper training, customs, procedures, and practices

      on behalf of the FBOP.

165. As a direct and proximate result of the deliberate indiffer-

      ence of Defendants McCullar, Griffin, Bailey,~ting, Negron,

      Taylar, and Roe I-X, the Plaintiff suffered the folling injuries

      and damages:

A.    Physical injuries, disability and permanent damages;

B.    Pain,suffering, and emotional distress;

C.    Anxiety, fear, sleeplessness, and depression;

D•    humiliation    and embarrassment;

E.    Other injuries, damages or consequences that are found to be
      r lated to the incident that develop or manifest themselves

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      during the course of discovery and trail.
COUNT III
Intentional Infliction of Emotional Distress

166. The Plaintiff incorporates by reference all preceding para-

     graphs of this Complaint as if fully stated herein.

167. Defendants conduct as outlined above was extreme, outrageous

     abusive, and of such character as not to be tolerated by

     civilized society.

168. Defendants conduct resulted in severe and serious emotional

     distress by:

A.   Intentionally inflicting emotional distress upon the Plaintiff

     by unprovoked and unjustified mistreatment and humiliation.

B.   Intentionally avoiding, ignoring, disregarding the Plaintiff's

     medical needs.

C.   Intentionally depriving the Plaintiff of medical care and

     treatment going so far as to restrict or falsify notes in

     the Plaintiff's medical file.

D.   Intentionally preventing the Plaintiff from exercising her

     Eighth Amendment rights of seeking relief for on going

     pain and suffering.

E.   Intentionally refusing the Orthopedic recommendation for

     relief.

168. As a direct and proximate result of said intentional willful

     wanton and reckless conduct by Defendants Adduci, Negron,

     Griffin, McCullar, Bailey, fCing, Taylor, and Roe I-X the

     Plaintiff has suffered severe and lasting physical injuries,

     mental anguish, pain and suffering, loss of enjoyment of life,

     humiliation, degradation, and uncurred medical expenses, all

                               40
        Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 41 of 93


        past, present, and future and other damages as described herein.

PRAYE~FOR RELIEF
169. Wherefore, the Plaintiff respectfully prays that this

       Honorable Court grant the folling relief:

A ,.    Compensatory damages _in as amount which is fair ,_just, and

        resonable.

B.     Punitive and/ or exemplary damages in an amount which is fair,

       just and reasonable;

C.     Injunctive relief to secure assess to care necessary to add-

       ress the Plaintiff's medical needs, including but not limited

       to, any surgery, medication, supplementation, and other

       treatment necessary for her injured knees, meniscus, cartilage,

       tendon, joint, bone, back, shoulder, and tumors.

D.     Entry of declaratory judgment stating that .- the Ddefedants

       policies, practices, acts and omissions violated the Plaintiff's

       rights guaranteed to her by the First and Eighth Amendments

       to the Constitution of the United States of America;

E.     Such other and further relief as this Court may deem appro-

       priate, including cost, interest, and reasonable attorney fees

       pursuant to 42 U.S.C.     1983 if and when a attorney is obtained.
CONCLUSION

1~0. The Plaintiff has suffered unnecessarily over the last

       3 years as a direct and proximate result of the Defendants

       intentional disregard for her medical needs. Budgetary con-

       cerns, which clearly is the driving force here, should not

       cause the Plaintiff to be crippled for life.         The Plaintiff
       reminds the court she has no legal training and is represent-

       ing herself in pro per. As such, she requests the court
                                                               to

                                   41
    Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 42 of 93


    apply the liberal pleading standard applicable to pro se

    litigants.


    Date this~day of June, 2017                    By:    ~~~ ~~r~y           -
                                                         Vanessa Cooper
                                                         Federal Reg #g~,~~)—(71$
                                                         Satellite Prison Camp
                                                         FCC Victorville
                                                         P.O. BOX 5300
                                                         Adelant, CA 92301

=                            DECLARATION

        I, Vanessa Cooper, Plaintiff in pro per for this VERIFIED
    COMPLAINT, hereby state the facts as alleged herein are true
    and correct based upon my information and belief.

    Executed at Victorville, Californis this ~ day of June, 2017

      `~     ~.
    Vanessa Cooper




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                                                              Bureau of Prisons
                                                               Health Services
                                                              Clinical Encounter
      Inmate Name: COOPER, VANESSA
      Date of Birth: 12/19/1973                                                                            Reg #: 58397-018
                                                                Sex:      F    Race: BLACK                 Facility: ALI
      Encounter Date: 08/20/2014 08:23
                                                                Provider: McCullar, L. MD                  Unit:     604
     Sick Call/Triage encounter performed at Healt
                                                   h Services.
     SUBJECTIVE:
          COMPLAINT 1           Provider: McCullar, L. MD
             Chief Complaint: Lower Extremity Pain
             Subjective: She reports onset of pain and swell
                                                             ing in the right knee after working out in Rec
                           Thursday. Now she is reporting difficulty walki                                  on last
                                                                           ng. She reports that Meloxicam is not helpi
                          the pain.                                                                                    ng
             Pain Location:
                                                                                 '
            Pain Scale: 8             ~
            Pain Qualities:
            History of Trauma:
            Onset:
            Duration:
            Exacerbating Factors:
            Relieving Factors:
            Comments:


   OBJECTIVE:
   Temperature:
       Date              Time             Fahrenheit         I i   Location              Provider
       08/20/2014        08:34 ALI               98.5         36.9                       McCullar, L. MD
  Pulse:
        Date          Time               Rate Per Minute        Location                 Rhvthm      Pr vi
      08/20/2014 08:34 ALI                              71                                           McCullar, L. MD
  Respirations:
     Date                    Time               Rate Per Minute Provider
    08/20/2014               08:34 ALI                       16 McCullar, L. MD
 Blood Pressure:
     Date        Iltn.~       Value                                                    Cuff Size    Provider
     08/20/2014 08:34 ALI     120/78
                                                                                                    McCullar, L. MD
 Exam:
    General
        Appearance
            Yes: Alert and Oriented x 3
    Pulmonary
        Auscultation
            Yes: Clear to Auscultation
    Cardiovascular
        Auscultation
            Yes: Regular Rate and Rhythm (RRR), Normal
                                                       S1 and S2
            No: M/R/G                    `
   Musculoskeletal
Generated 08/20/2014 08:44 by McCullar, L. MD
                                                             Bureau of Prisons - ALI
                                                                                                                       Page 1 of 3
                   Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 44 of 93
     Inmate Name: COOPER, VANESSA
     Date of Birth: 12/19/1973                                                                          Reg #: 58397-018
                                                             Sex:      F    Race: BLACK                 Facility: ALI
     Encounter Date: 09/15/2014 14:37                        Provider: McCullar, L. MD                  Unit:     B04
    ASSESSMENT:

                    Unspecified internal derangement of knee, 717.9 -Current, Tempor
                                                                                              ary/Acute, Not Improved/Same
    PLAN:
   Renew Medication Orders:
   ~R             Medication                                                 Order Date          Prescriber Order
   20502-ALI     Ibuprofen 800 MG Tab                                        09/15/2014 14:37   Take one tablet by mouth three
                                                                                                times daily with food as needed
                                                                                                for pain x 60 days)
                           Indication: Leiomyoma of uterus, unspecified, Unspecified polyart
                                                                                             hropathy or polyarthritis,
                                       Unspecified internal derangement of knee
                               One Time Dose Given: No

   New Consultation Requests:
        Consultation/Procedure                         Due Date           Pri y
                                                                          orit                Translator Language
        Radiology
                                                                                               No
            Reason for Request:
                MRi of the right knee. This is a 40 year-old lady who has positiv
                                                                                  e anterior drawer and Lachman's tests of
                the right knee. The knee has continued to give away and be painful
                                                                                      and swollen after an injury in mid
                August 2014 while working out.
           Provisional Diagnosis:
               Suspect anterior cruciate ligament tear of the right knee.

  Disposition:
       Follow-up at Sick Call as Needed
       Follow-up at Chronic Care Clinic as Needed

 Patient Education Topics:
      Date Initiated Format                 HandoutfTo is                             r   i     r            Outcome
      09/15/2014     Counseling             Plan of Care                             McCullar, L             Verbalizes
                                                                                                             Understanding

 Copay Required: No                             Cosign Required: No
 Telephone/VerbalOrder: No


 Completed by McCullar, L. MD on 09/18/2014 07:46




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                                                           Bureau of Prisons - ALI
                                                                                                                       Page 2 of 2
                    Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 45 of 93
     Inmate Name: COOPER, VANESSA
     Date of Birth: 12/19/1973                                                                           Reg #: 58397-018
                                                              Sex:      F    Race: BLACK                 Facility: ALI
     Encounter Date: 10/06/2014 12:39                         Provider: McCullar, L. MD                  Unit:     B04
     Exam:
             Auscultation
                  Yes: Regular Rate and Rhythm (RRR), Normal S1 and S2
                  No: M/R/G
          Musculoskeletal
                         Right shoulder with abduction only to approximately 70
                                                                                degrees . Moderate pain and decreased range
                         of motion.
    ASSESSMENT:

                   Shoulder (pain in joint, shoulder region), 719.41 -Current,
                                                                                     Temporary/Acute, Initial
    PLAN:
    New Medication Orders:
   if x            Medication                                                Order Date                Prescriber Order
                   Ibuprofen Tablet                                          10/06/2014 12:39          800 mg Orally - three times a
                                                                                                       day x 3 days)-- as needed for
                                                                                                       pain. Take with food.
                          Indication: Shoulder (pain in joint, shoulder region)
                          Start Now: Yes
                              Night Stock Rx#: 22936-a1i
                              Source: Night Stock
                              Admin Method: Self Administration
                             Stop Date: 10/09/2014 12:38
                              MAR Label:
                             One Time Dose Given: No

                       Ketorolac Injection 30 MG/ML                        10/06/2014 12:39           2 ml Intramuscularly Gluteal,
                                                                                                      Right one time x 1 days) Pill Line
                                                                                                      Only
                         Indication: Shoulder(pain in joint, shoulder region)
                              One Time Dose Given: No

 Disposition:
      Follow-up at Sick Call as Needed
      Follow-up at Chronic Care Clinic as Needed

 Other:
      She was advised to report to Medication pick-up for Motrin Rx.
                                                                     She has not picked up the previous prescription.
Patient Education Topics:
     Date Initiated Format                 HandoutlTo~ic                              Provider                  Outcome
     10/06/2014     Counseling             Plan of Care                               McCullar, L.              Verbalizes
                                                                                                                Understanding




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                                                           Bureau of Prisons - ALI
                                                                                                                          Page 2 of 3
                 Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 46 of 93
                                                           Bureau cif Prisons
                                                            Health services
                                                          Medical Duty Status
     Reg #: 58397-018                                     Inmate Name: COOPER, VANESSA
    Housing ~fatus
       confined to the living quarters except _meals        __pill line                _treatments     Exp. Date:
    _ on complete bed rest:          _bathroom privileges only                                       Exp. Date:
     X cell:       cell on frrst flcor      single cell   X lower bunk _airborne infection isolation Exp. Date:            03/15/2015
        other:
                                                                                                       Exp. Date:
   Physical~:it~         irs"rt~~e~t'riction,        ~             ~..~.
                                                                      '  ~"~~.r -                     ~; ~r'~                    -
    X all sports
                                                                                                       Exp. Date:          12/31/2014
        weightlifting:     _upper body          _lower body                      Exp. Date:
   _ cardiovascular exercise: _running _jogging _walking _softball
                                                                                 Exp. Date:
                           _football
                                !     basketball _handball ^stationary equipment
   _ other:
                                                                                                      Exp. Date:
  May have fhe following equipment in ~isJ. kiet.po~sessi~It. . `                               _      -               -
   Equipment                                                                 Start Date        End Date             Return Date
   Brace -knee                                                               0~/20,'2D14       09/05/2014
  Work Restriction /Limitation:
  Cleared for Food Service: Yes
  Restriction
                                                                                                                Expiration Date
  No Upper Bunk                                                                                                 03/15/2015
 Sedentary Work Only                                                                                            11/28/2014
  Comments: Care level 2

               SEDENTARY WORK ONLY THROUGH 11/28/2014 due to RIGHT KNEE INJURY
                                                                               .
                            M~Cullar, L. MD    '~`                      10/24/2014
 Health Services Staff
                                                                           Date
 Inmate Name:          COOPER, VANESSA       Rig #:    58397-018 Quarters: 604

 ALL EXPIRATION L)AT~S ARE AT 24:00




                                                                       ~~




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                                                                                                                    Page 1 of 1
                                                                        F
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   P--A198.055 I?~~1~,TE               REQUEST               TO   STAFF    CDFRM
   EP 9B .
  '.S. DEPARTMENT C•E' UJSTICE                                                                            FEDERAL BiTREAII OF PRISONS


   TO:(Name and Titlje of y Staff                        e~ber)                   DATE:
    1 ,t7 ~t~~~i~        ~(.~`iailtr'lr Ts~r"1               t~   i'~            --         ,/~ ~ ~~
  FROM:                              ~~`~                                        REGISTER NO.:


  WORK ASSI             MENT:        n                                           UNIT:         /~
                                ~v~ VC~rv~G~                                ~_                ~J
  UBJECT: (Briefly si:nte your question or concf•:rn and the solution you are requesting.
  ontinue on back, if necessary. Your failure to be specific may result in no action being
  a;:e~:. ~i i1CCCJJ;r -~,   _ ..__]_1. b~ ~.r*_=.rv;,~wec' in cyder to s•~ccessfully respond to your
  equest.                  y                   //


   I~..,~    1„~.,,         L.          ~.~.~        ~_i/          ..~.a.,_ ._.,~ .J ~_..       ~,.n .,    L. /_                  it r          ~i ,/_




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                                                                                                                                               l~
               i l>-.
                          i.i~,~,+~.~       `I   r      /•         !`,     _
                                                                          ~`    ~«~'1
                                                                                   '  r   C~f,~/Y'~_.   ~ci'~`,    ~     ~//Tf'      _`
                                                                                                                                   7~-c'~ ~.

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                                                                                             ~                    ~ ~'_ ALL-~~;
                                                                                                                                    —~
                                                        (Do not write ;•,e1ow this line)                                                 ,~

 DISPOSITION:




             Signature Staff Member                                            (Date


Record Copy - Fil,~; Copy - Inmate
 This form may be replicated v:i.a WP)                                           This £orm replaces BP-148.070 dated Oct 86
                                                                                 and BP-5198.070 AFR 94


E2i,1~ IN SECTION 6 IINLESS APPROPR2ATE FOR ~R:~VACY FOLDER                                                            SEV..~:. ~O~~Y
   Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 48 of 93

     Fax Server                             11/17/2014 3:23               PAGE 2/2              Fax Server




                     PICKENS COUNTY ME ICAL CENTER
                                  Department of Imagi g Services
             241 Rohert K Wlkon Drlve • Grroltton, Alabama 35447 • Phorle: (205) 367-8111 • Fax:(205) 367-8973




       Location               Medical Record Number                                                      Room
        P.RAD                      H000071583                          I004154951


Procaduro Dabs       Ordering Physician             Proc~dun Wsc ption
11/17/2014           Llnd~ F MCCullar, MD           004851360 - MR Rip t Knee wRhout Contrast




EXAMINATION: MRI right knee without contras

AVAILABLE CLINICAL INFORMATION: Knee pai                                   No known injury.

TECHNIQUE: Multispin multiplanar imaging obt fi ned through the right knee without
contrast.

FINDINGS: There is an oblique tear through th posterior horn medial meniscus.
Remaining meniscal structures are intact. The uciate and collateral ligaments are
appropriate. There is moderate cartilage thinni g throughout the lateral
compartment. There is no significant joint effus on. Popliteal fosse is clear.
Musculature is appropriate.

IMPRESSION:
1. Prominent tear posterior horn medial menisc s.
2,.Cartilage thinning within the lateral compart ant.
           ~,~~r use ° ~s ~r ~~~~                                                    ~_~~*
 11/i?f2014 3:18 PDS: Jasoa R B~ardea,
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    Inmate Name: COOPER, VANESSA                                                                     Reg #: 58397-018
    Date of Birth: 12/19/1973                                Sex:      F    Race: BLACK              Facility: ALI
    Encounter Date: 11/17/2014 16:05                         Provider: McCullar, L. MD               Unit:     B04

   PLAN:

   Disposition:
        Follow-up at Sick Call as Needed

   Other:
        Will f/u after the MRI results are back.

  Patient Education Topics:
        Date Initiated F rm                     HandoutiTo is                         Pr vi               Outcome
        1 1/17/2014    Counseling               Plan of Care                          McCullar, L.        Verbalizes
                                                                                                          Understanding

  Copay Required:Yes                              Cosign Required: No
  TelephoneNerbalOrder: No


  Completed by McCullar, L. MD on 12/01/2014 16:46




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Inmate Request to Staff Response
Cooper, Vanessa
Register No. 58397-018


This is in response to an Inmate Request to Staff wherein you state your
leg stopped working in June. You would like to be evaluated to find
out the reason this happened.

A review of your medical record reveals you were evaluated on
October 24, 2014, by the Physician ~~r complaint of pain and swelling
of the right knee with limited moverient; and slow improvement of the
right shoul~~r. Dt~rina the visit, the Physician noted fair
range-of-motion of the right shoulder and right knee with minimal
flexion. The Physician diagnosed you with shoulder pain and
unspecified internal derangemer'it ofknee. The Physician renewed your
routine chronic care medications, to include Ibuprofen for pain. A
radiology consultation of the shoulder was submitted and performed.
The findings of the right shoulder x-ray were negative . You were advised
by the Physician an MRI of the right knee was approved and will be
scheduled. At this time, the MRI of the right knee has been scheduled.

I trust this responds to your request.



                                                   ~~~~ `• ~~
A. Washington-Adduci, Warden                     Date
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                                                Bureau of Prisons
                                                 Health Services
                                    Clinical Encounter -Administrative Note
  Inmate Name:       COOPER, VANESSA
                                                                                       Reg #:      58397-018
  Date of Birth:     12/19/1973                        Sex:      F    Race:BLACK       Facility:   ALI
  Note Date:         01/1.2/2015 06:52                 Provider: Negron, Ivan MD/RMD   Unit:       604

  Review Note encounter performed at Health Services.
  Administrative Notes:
        ADMINISTRATIVE NOTE 1                    Provider: Negron, Ivan MD/RMD
            MRI Report Reviewed.

              IMPRESSION:
              1. Prominent tear posterior horn medial meniscus.
              2. Cartilage thinning within the lateral Compartment.

             Plan
             1. Continue with self instructed Physical Therapy and NSAIDs.
             2. Consider Ortho Consult if sx persist after conservative management.

 Disposition:
     Return To Sick Call if Not Improved


Copay Required:No                          Cosign Required: No
TelephoneNerbalOrder: No


Completed by Negron, Ivan MD/RMD on 01/12/2015 07:00




'rated 01/12/2015 07:00 by Negron, Ivan MD/RMD      Bureau of Prisons - ALI
                                                                                                    Page 1 of 1
             Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 52 of 93Page 1 of 1


  Aubrey Collins -Cooper, Vanessa # 58397-018 Informal Resolution


  From:           Aubrey Collins
  To:             Ella Taylor
  Date:           1/24/2015 4:26 PM
  Subject:     Cooper, Vanessa # 58397-U18 Informal Resolution
  CC:          Richard Griffin
  Attachments: Cooper, Vanessa # 58397-018.pdf


  Please see attached documents and schedule I/M Cooper to be seen regarding her issue at your convenience.

  Thanks,



 ~. Collins
 B4 i:ase iVlauager
 F'CI .~liceville
 PA. I~c~ 4~~
 ~~liceville, AL. 35442
 205 373-5000 Ext 51G4
 a~collinsla~bon.~~v




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                 Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 53 of 93




                                    FEDERAL CO~c~EC.TtONAL INSTITUTION
                                        A LI~EVILLE, ALABAMq           ..
                                    I~VfO~tM~L, i~E~30L1)'T'FpJ~1,FORM


    Inmate Name: ~     BSc                     Q;~                             Reg. No, _~`~3~~ 'L~~~
           Unit: _ ~-~                                                         Date:     i - 11~~-~~

                                                                         Request for Administrative Remedy,
    NOTICE TO INMATE: You are advised that normally prior to filing a
                                                                      t through your Correctional Counselor.
    BP-229(13),, you must attempt to informally resolve your complainmax'
    Please follow ,!~e three steps li,~ted be[~w:

    1,      S'




                                                         to one letter size (8 1/2 x 11) continuation
            (If more space is needed, you may use up
                                                            porting exhibits. (ExhlbIts will not be
            page. You must also submit one copy of sup
                                                  ',131 responses.))
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    2,      St



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                                                                  _                    Date:        ~'~6 -ICJ
    Inmate's Signature:                L ~ ~
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                                                                                            Date:     ~v~~—~~
    Counselor's Signature:                                                                    te~     ~ ~ ~ -~
    Unit h~ana~er's Ftview:                                       , ______                  Date:    3~~ ~3 ~ ~s .~
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Q                                                                                                   BP-8 RETURNED    REMEDY CLERK
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     COUNSELOR




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                            Case 7:17-cv-01580-RDP-JEO Document 1 Filed
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                                                                    ~~' ~+ ~~ f~    Page  54 of 93
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        Federal Bureau of Prisons                                                                                                                                    ~~1 ~+ ~u


                            Type or use ballpoint pen. If attachments are needed,
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                                                                                                                                   reverse.
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                        L    TN      ~,FII2ST, NIIIDDLE INITIAL                                                                       ~'~                       ~~ ~/7~~1C~L~i ~/~
                                                                                                        REG. NO.                            iJ1VIT
        Part A- INMATE REQUEST                                                                                                                                         INSTITUTIaN




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                     DATE
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                 DATE
                                                                                                                           WARDEN OR REGIONAL DIItECTOR
I
fdissatis,~ed with this response, you may appeal to the
                                                        Regional         Director. Your appeal must be received in the Regio~:al
                                                                                                                                 Office ~viihin 20 calendar d /s ofthe date ofthis r~orzse.
ORIGINAL: R~'3'URN TO IIVMATE
                                                                                                                              CASE NUMBER:              ~`~~~~ ~~~-


 dart C- fl~CE3~~'                                                                                                           CASE NUMBER:
Return to:
                     LAST NAME, FIRST, MIDDLE INITIAL
                                                                                                      REG. NO.                           UNIT                     INSTITUTION
SUBJECT:


               DATE
                                                                                                   RECIPIENT'S SIGNATURE (STAFF MEMBER)
USP LVN                                           o,.,.~„~vo~M,.~,,,~,                                                                                                         BP-229(13)
        Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 55 of 93




                          RECEIPT - ADMINISTRATIVE REMEDY




DATE: APRIL 17, 2015




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      ALICEVILLE FCI

TO    VANESSA COOPER, 58397-018
      ALICEVILLE FCI    UNT: B UNIT        QTR: B04-104L




THIS ACKNOWLEDGES THE RECEIPT OF THE ADMINISTRATIVE REMEDY REQUEST
IDENTIFIED BELOW:I

k~MEDY ID             816582-F1
DATE RECEIVED    :.. .APRIL 7, _ .2015
RESPONSE DUE    ~-,APRIL 27, 2015
SUBJECT 1             MEDICAL CARE - IMPROPER OR INADEQUATE
SUBJECT 2
                  Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 56 of 93

                                                          Bureau of Prisons
              '
              l                                            Health Services
                                                          Clinical Encounter
  Inmate Name: COOPER, VANESSA                                                                               Reg #: 58397-018
  Date of Birth: 12/19/1973                                Sex:      F     Race: BLACK                       Facility: ALI
  Encounter ~Date: 04/30/2015 12:47                        Provider: Griffin, Richard MD/CD                  Unit:     604
                  —

  Chronic Care -Chronic Care Clinic encounter performed at Health Services.
  SUBJECTIVE:
       COMPLAINT 1           Provider: Griffin, Richard MD/CD
        Chief Complaint: OB/GYN
        Subjective: menses regular, heavy with clots. known fibroids, endometrial biopsy 2014, unknown results.
                     cycled on OCPs last year with good results.
                     periods are 12 days long, clots, quite a bit.

                           16 weeks uterus with fibroids, no adnexal masses

                           pap smear taken
         Pain:             No


      COMPLAINT 2           Provider: Griffin, Richard MD/CD
       Chief Complaint: ORTHOPEDIC/RHEUMATOLOGY
       Subjective: right knee hurts, cannot walk normally. not doing physical therapy. MRI shows meniscal tear.
                    request for knee surgery has been denied and physical exercises recommended.

                          PLAN ibuprofen 800 BID for 90 days                                                                 ~ --
                          knee rehabilitive exercises sheet given3

                      call out in 6 months
        Pain:         Yes
        Pain Assessment
          Date:                     04/30/2015 13:07
          Location:                 Knee-Right
          Quality of Pain:          Aching
          Pain Scale:               6
          Intervention:             exercises
                                                                                    '~,rs~~''°i3~n ~.y,►stra3`
                                                                                  Pat
                                                                                                  ~a
          Trauma Date/Year:
           Injury:
           Mechanism:
          Onset:                        6-12 Months
          Duration:                     <30 Minutes
          Exacerbating Factors:         activity
          Relieving Factors:            rest
          Comments:
Seen for clinic(s): OB GYN, Orthopedic/Rheumatology
Added to clinic(s): OB GYN, Orthopedic/Rheumatology

OBJECTIVE:
Temperature:
   Date                Time            Fahrenheit      Celsius Location                  Provider

Generated 04/30/2015 14:05 by Griffin, Richard MD/CD        Bureau of Prisons - AI .~                                      Page 1 of 3
                     Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 57 of 93
                                                       Bureau of Prisons
                                                        Health Services
                                                       Clinical Encounter
   Inmate Name: COOPER, VANESSA                                                                Reg #: 58397-018
   Date of Birth: 12/19/1973                             Sex:      F     Race: BLACK           Facility: ALI
   Encounter Date: 05/06/2015 10:35                      Provider: Griffin, Richard MD/CD      Unit:     604

  Physician -Evaluation encounter performed at Health Services.
  SUBJECTIVE:
       COMPLAINT 1                   Provider: Grin, Richard MD/CD
          Chief Complaint: ORTHOPEDIC/RHEUMATOLOGY
          Subjective: review of MRI results at Warden's request. MRI report and Regional Medical Director review
                         discussed with her.
                    ;;~ She started the rehabitation exercises Qn 4/30 and needs to give it good effort until 6J30. She
                        has made some progress with the exercises.

                           EXAM normal passive ROM right knee, no effusion, there is tenderness to collateral ligament
                           test to medial ligament.

                           ASSESS posterior medial meniscus tear and reduced mobility.

                       PLAN as above
                       call out in about one month.
         Pain:         Yes
         Pain Assessment
           Date:                     04/30/2015 13:07
           Location:                 Knee-Right
           Quality of Pain:          Aching
           Pain Scale:               g
           Intervention:             exercises
           Trauma Date/Year:
            Injury:
            Mechanism:
           Onset:                        6-12 Months
           Duration:                     <30 Minutes
           Exacerbating Factors:         activity
           Relieving Factors:            rest
           Comments:

OBJECTIVE:
Exam:
   Musculoskeletal
      Knee
          Yes: Normal Passive ROM, Tenderness
          No: Normal Active ROM,Swelling
ASSESSMENT:

               Knee, Pain in joint, lower leg, 719.46 -Current, Chronic, Not Improved/Same

PLAN:

Devices and Equipment Issued:

Generated 05/06/2015 11:06 by Griffin, Richard MD/CD     Bureau of Prisons - ALI                                  Page 1 of 2
        Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 58 of 93




            EXTENSION OF TIME FOR RESPONSE - ADMINISTRATIVE REMEDY




DATE: APRIL 30, 2015




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      ALICEVILLE FCI

TO    VANESSA COOPER, 58397-018
      ALICEVILLE FCI    UNT: B UNIT       QTR: B04-104L




ADDITIONAL TIME IS NEEDED TO RESPOND TO THE ADMINISTRATIVE REMEDY REQUEST
IDENTIFIED BELOW. WE ARE EXTENDING THE TIME FOR RESPONSE AS PROVIDED
FOR IN THE ADMINISTRATIVE REMEDY PROGRAM STP_TEMri~m,


REMEDY ID        816582-F1
DP.TE RECEIVED   APRIL 7, 2015
    PONSE D      MA 17, 2015
SUBJECT 1        MEDICAL CARE - IMPROPER OR INADEQUATE
SUBJECT 2
              Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 59 of 93




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          A~9rr~ir~istra~ave @~~sv~~rly ado. 816 '82-F'~
          Part ~ - ~~spor~se

          This is in response to your Request for Administrative Reme
                                                                       dy PVo. 876582-F1, received
          on April 7, 2015, wherein you state there has been no solut
                                                                      ion in regards to your knee
          pain. As reliefi, you request knee surgery,

          A review of your medical record and consultation with
                                                                staff reveals an MRI of the right knee
          was performed on November 17, 2014. The MRI findings
                                                                       revealed prominent tear
     ~    posterior horn medial meniscus and cartilage thinning
                                                                 within the lateral compartment.
   3ek


~~       folows ~ continue w thDierectnstructe                                          '
                                                                                        t plans as
                                                  iscahlea an tl            medic' a   ; ~con~
                                                                                         Pnd 's~ider
         a~'r ipdic c su +on i symp oms p sist a ~r conse
                                                                 rvative management.
   ~,_~~ ` On May 6, 2015, you were evaluated by the Clinical
                                                                Director for complaint of knee fain
        ~~ and to discuss your MRI results. The Clinical Direc
                                                               tor evaluated your knee and noted
~~~~       tenderness to the collateral ligament and reduced mobility.
                                                                         You were advised of the NiR!
           results and the Clinical Director recommended afollow-up
                                                                       evaluation in orae mor~tt~.
        Accordingly, your Request for Administrative Remedy
                                                                  is denied, in that FCI Alzc~ville
        Health Services staff have evaluated and treated your medic
  ,~ '~ Program Statement                                                s( complains based ors
                                    .04, Patient Care, and knee surgery is not recommen
         erne.      ys~~a ~e~ ~i~sa~~~fed ~~a~h ~hi~ r~s~o~ase, yoga e~a~ a~~P               ded at this
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  U.S. Department ofCase
                    Justice               7:17-cv-01580-RDP-JEO
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                                                                     R,~~ eional
                                                                          f'                                                                                      Administrative Remedy Appeal
  Federal Bureau of Prisons


  Type or use ball-point pen. If attachments are needed, submit four copies. One~copy of the completed BP-229(13) including any attachments must be submitted
  with this appeal.
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  From:          s       ~ ~    r;` f f';' f `' f~ .
                       f LAST NA E, RST, MIDDLE INITIAL                                                                                 REG. NO.~ '~                                 UNIT                        ~— INSTITUTION                         ~~
 Part A -REASON FOR APPEAL                                                      r                                             r
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                        —
                     DATE                                                                                                                                                      SIGNATU~2E                 R QUESTER
Part B -RESPONSE



                                                                                            3                                          ._




                 DATE                                                                                                   REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office within 30 calendar
days of the date of this response.
SECOND COPY: RETURN TO INMATE                                                                                                                                             CASE NUMBER: '~ '? ;~` ~
                                                                                                                                                                       — — — — — — — — — — — — — — —
Part C -RECEIPT
                                                                                                                                                                             CASE NUMBER:

Return to
                                LAST NAME;FIRST, MIDDLE INITIAL"'•                                                                           REG. NO.                                     UNIT                                INSTITUTION
SUBJECT:


                 DATE                                                                                                                  SIG ATURE,RECIPIENT OF REGIONAL APPEAL
                                                                                                                                                                                                                                            BP-230(1.3)
        Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 61 of 93




                       RECEIPT - ADMINISTRATIVE REMEDY




DATE: JULY 7, 2015




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      SOUTHEAST REGIONAL OFFICE

TO    VANESSA COOPER, 58397-018
      ALICEVILLE FCI    UNT: B UNIT       QTR: B04-104L




THIS ACKNOWLEDGES THE RECEIPT OF THE REGIONAL APPEAL
IDENTIFIED BELOW:

REMEDY ID        816582-R1
DATE RECEIVED    JUNE 29, 2015
RESPONSE DUE     JULY 29, 2015
SUBJECT 1        MEDICAL CARE - IMPROPER OR INADEQUATE
SUBJECT 2        CONSULTANT REFERRALS, RECOMMENDATIONS
                  Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 62 of 93
 Inmate Name: COOPER, VANESSA                                                                        Reg #: 58397-018
 Date of Birth: 12/19/1973                                Sex:      F    Race: BLACK                 Facility: ALI
 Encour~er Date: 06/30/2015 12:40                         Provider: Bailey, Sharon RN                Unit:     604
 Exam
           Observation/Inspection
               Yes: Within Normal Limits
      Cardiovascular
          Observation
             Yes: Within Normal Limits
      Musculoskeletal
         Gait
             Yes: Normal Gait
 ASSESSMENT:
         Initial assessment
         Inmate presented to health services reporting sharp pain on the left side of the chest that comes and goes. Inmate
         states she has also had transient episodes of tachycardia. Inmate states she also had episodes of heart burn for which
         she take an OTC chewable acid reducer three tablets every two hours. EKG performed and reviewed by MD WNL.
         Vital signs stable. No acute distress noted. Breath sounds clear bilaterally. No cough noted. No report of nausea or
         diaphoresis. Inmate stated last night during peak of episode she was having palpitations with shortness of breath and
         when she did take a deep breath she would have sharp pain from her left axilla radiating to her heart and down her left
         arm. Inmate states she is continuing to have sharp pains that come and go. Advised inmate will place on call out for
         MD and to return to health services if palpitations return or if condition worsens for further evaluation.

PLAN:

Schedule:
     ActivitX                                               Date Scheduled          Scheduled Provider
     Sick Call/Triage                              07/07/2015 00:00 Physician
         6/30/15 chest pains, EKG WNL, needs MD follow up

Disposition:
     Will Be Placed on Callout

Patient Education Topics:
     Date {vitiated Format                Handout/To~ic                             Pr vi   r             Outcome
     06/30/2015       Counseling          Plan of Care                              Bailey, Sharon        Verbalizes
                                                                                                          Understanding


Copay Required:Yes                            Cosign Required: Yes
Telephone/VerbalOrder: No


CompletecJ by Bailey, Sharon RN on 06/30/2015 13:01
Requested to be cosigned by Griffin, Richard MD/CD.
Cosign documentation will be displayed on the following page.




Generated 06/30/2015 13:01 by Bailey, Sharon RN           Bureau of Prisons - ALI                                   Page 2:t
           Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 63 of 93
       e




  Regional Administrative Remedy Appeal No: 816582-R1
  Part B -Response


 This is in response to your Regional Administrative Remedy Appeal receipted
 J une 29, 2015. You allege a magnetic resonance imaging (MRI)study of your right knee
 revealed a torn meniscus, but the Regional Medical Director denied a request for surgery.
 You further claim this decision is unacceptable because a dodo;told ycu the surgery i~
 needed urgently. As relief, you request surgical intervention.

 A review of your medical records revealed you were evaluated by the Staff Physician after
 u ndergoing an MRI of your right knee on November 17, 2014. The Regional Medical
 Director(RMD) reviewed the MRI report, which revealed prominent tear posterior horn
 medial meniscus and cartilage thinning within the lateral compartment. The RMD
 recommended self-instructed physical therapy and non-steroidal anti-inflammatory
 medication and an orthopedic consultation if your symptoms persist after conservative
 medical management has been tried.

 You were evaluated by the. Clinical Director on Aril 30, 2015 , at which time you„admitted
~ou~were not doing physical therapy_ exercises. You were provided self-therapy literature
                                       _,~~ ~~~
and metcation for pam. Progress .with                    ~ condition was no~e~~
                                                 ,. _ your,                ~.~ when you were "~"~~`~"
evaluated by the Clinical Director again on May 6, 2015.,y 4You were`advisecl to make a
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C,J(~O~ $ffu^C: t~ ~;Gn'~~.:~~_ tiJ ~:i~'{~ii
reevaluated to monitor~your progress. When you wereseenin theclinicon dune 30,
2015, your chief complaint was of pain in the left side of your chest. The clinician noted
you presented with a normal gait, and you did not voice any problems pertaining to your
right knee during this encounter.

Should you experience any adverse changes in your condition, return to sick call for
reevaluation. Medical care will continue to be provided consistent with Bureau of Prisons'
policy.

Accordingly, your Regional Administrative Remedy Appeal is denied. If dissatisfied with
this response, you may appeal to the Office of General Counsel. Your appeal must be
received in the Office of General Counsel, Bureau of Prisons, 320 First Street, NW,
Washington, DC, 20534, within 30 calendar days of the date of this response.


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~. -                                                  -~•            -_ }
                  Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 64 of 93
                                                         Bureau of Prisons
                                                          Health Services
                                                         Clinical Encounter
  Inmate Name: COOPER, VANESSA                                                                   Reg #: 58397-018
  Date of Birth: 12/19/1973                                  Sex:      F    Race: BLACK          Facility: ALI
  Encounter Date: 10/20/2015 09:00                           Provider: King, M W RN              Unit:     604

  Nursing -Sick Call Note encounter performed at Health Services.
  SUBJECTIVE:
       COMPLAINT 1            Provider: King, M W RN
         Chief Complaint: Pain
         Subjective: Inmate stated, "I have swelling to my right foot and it is painful when I walk".
         Pain:        Not Applicable



 OBJECTIVE:
 Exam:                                                                                           ~e~si~veBut~rclassifie~
    General
       Affect
            Yes: Cooperative, Agitated
 ASSESSMENT:
         Other
         Inmate presents to sick call with c/o pain and swelling to her right foot. Inmate alert and oriented x 3. Inmate in NAD.
         Inmate ambulates with using a cane. No respiratory difficulties noted or reported. Inmate is upset because she states ,"I
         was here all day yesterday and got sent back". Inmate was advised to remain in health service to have her foot
         assessed. Inmate left health service prior to being assessed.

 PLAN:

Disposition:
     Follow-up at Sick Call as Needed

Patient Education Topics:
     Date Initiated      rm                  Handout/Topic                              r vi            Outcome
     10/20/2015       Not Done                                                         King, M          Unable to Demonstrate


Copay Required: No                             Cosign Required: Yes
TelephoneNerbalOrder: No


Completed by King, M W RN on 10/20/2015 12:24
Requested to be cosigned by Grin, Richard MD/CD.
Cosign documentation will be displayed on the following page.




Generatf~d 10/20/2015 1224 by King, M W RN                   Bureau of Prisons - ALI                                Page 1 of 1
           Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 65 of 93


                      REJECTION NOTICE - ADMIi~TISTRATIVE REMEDY
                       X '%
                       /L




 DATE: SEPTEMBER ~3'`, 2015


              ~--""'~-
                   _;
                     ;s`~
 FROM: ADMID?ISTRATIVE REMEDY COORDINATOR
       CENTRAL OFFICE

 TO    VANESSA COOPER, 58397-018
       ALICEVILLE FCI    UNT: B UNIT                QTR: B04-104L
       P.O. BOX 445
       ALICEVILLE, AL 35442




FOR THE REASONS LISTED BELOW, THIS CENTRAL OFFICE APPEAL
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD II~TCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.


REMEDY ID          816582-A1       CENTRAL OFFICE APPEAL
DATE RECEIVED      AUGUST 24, 2015
SUBJECT 1          MEDICAL CARE - IMPROPER OR INADEQUATE
SUBJECT 2          CONSULTANT REFERRALS, RECOMMENDATIONS
INCIDENT RPT N0:

REJECT REASON 1: ALL~FOUR PAGES OF YOUR (BP-9) (BP-10) (BP-11) FORM MUST BE
                 LEGIBLE AND WORDED THE SAME. PHOTOCOPIES OF THE FORM WILL
                 NOT BE ACCEPTED.

REJECT REASON 2: YOU MAY ONLY SUBMIT ONE CONTINUATION PAGE, EQUIV. OF' ONE
                 LETTER-SIZE (8.5 X 11) PAPER. TEXT ON ONE SIDE. THE
                 TEXT MUST BE LEGIBLE.

REJECT REASON 3: YOU DID NOT SUBMIT PROPER NUMBER OF CONTINUATION PAGES
                 WITH YOUR REQUEST/APPEAL. 2 - WARDEN'S LEVEL; 3 -
                 REGIONAL LEVEL; AND 4 - CEIv'TRAL OFFICE LEVEL. THE
                 NUMBER CITED INCLUDES YOUR ORIGINAL.

REJECT REASON ~: YOU MAY RESUBMIT YOUR APPEAL IN PROPER FORM WITHIN
                 15 DAYS CF THE DATE OF THIS REJECTION NOTICE.



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                    Case 7:17-cv-01580-RDP-JEO Document 1 Filed
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                                                                                                                                                             Appeal
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   'Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the
                                                                                                    completed BP-229(13) and BP-230(13), inclu
    ments must be submitted with this appeal.                                                                                                 .~3ing any attach-

   From: COOp2r',Vanessa R                                                  58397-018                                       g_4                    F CI-ALICEVIL _
              LAST NAME,FIRST,MIDDLE INITIAL                                         REG. NO.
                                                                                                                            UNIT                            INSTITUTION
  PartA-REASON FOR APPEAL    This is in response t~ my Regi
             First Regional stated that I alleged a MRI studonal Appeal de vial.
             revealed a torn meniscus a as if it were not    y of my Right   Knee
                                                          true.   I did not know
             my meniscus was torn until the clinician here
                                                            at FCI-Alicevi 11e
             told me, and , at that time the Clinician also
             a surgery. This is a fact that is in my         told me I wou ~d need
                                                       medical records. Region
             also stated that, "as relief, I request                             al
                                                      surgical intervention,
             Regional knows that I need relief, so why am                      ~u
                                                           I being denied sur
             that is needed. I have attached to this a                        gery
                                                         response to other  statemen~,s
             Regional made in part-B Response




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                DATE
                                                                                                                   SIGNATU              OFREQUESTER
 Part B -RESPONSE




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               DATE
                                                                                                                       GENERAL COUNSEL
ORIGINAL: RETURN TO INMATE
                                                                                                               CASE NUMBER: ~ 1 6S S ~                         —' ~'
Part C -RECEIPT                                                                                                 ~_,m--- — _ _ _ . _ _ _ _                                  v ._.

                                                                                                              CASE NUMBER:
Return to:
                       LAST NAME,FIRST, MIDDLE INITIAL                                REG. NO.
                                                                                                                              UNIT                         INSTITUTION
SUBJECT:


              DATE                                                            SIGNATURE OF RECIPIENT
                                                                                                             pF CENTRAL OFFICE APPEA
                                                                                                                                                      L
UPN LVN                                    ~~~''"EDONP~~DPA~"                                                                                                     BP-231(13)
                                                                                                                                                                  .II INF ~M1J
       Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 67 of 93




                         RECEIPT - ADMINISTRATIVE REMEDY




DATE: JANiJARY 6, 2016




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      CENTRAL OFFICE

TO    VANESSA COOPER, 58397-018
      ALICEVILLE FCI    UNT: B UNIT       QTR: B04-104L




THIS ACKNOWLEDGES THE RECEIPT OF THE CENTRAL OFFICE APPEAL
IDENTIFIED BELOW:

REMEDY ID        816582-A3
DATE RECEIVED    DECEMBER 10, 2015
RESPONSE DUE     FEBRUARY 8, 2016
SUBJECT 1        MEDICAL CARE - IMPROPER OR INADEQUATE
SUBJECT 2        CONSULTANT REFERRALS, RECOMMENDATIONS




                                        ~,
       Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 68 of 93




           EXTENSION OF TIME FOR RESPONSE - ADMINISTRATIVE REMEDY




DATE: JANUARY 6, 2016




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      CENTRAL OFFICE

TO    VANESSA COOPER, 58397-018
      ALICEVILLE FCI    UNT: B UNIT   QTR: B04-104L




ADDITIONAL TIME IS NEEDED TO RESPOND TO THE CENTRAL OFFICE APPEAL
IDENTIFIED BELOW. WE ARE EXTENDING THE TIME FOR RESPONSE AS PROVIDED
FOR IN THE ADMINISTRATIVE REMEDY PROGRAM STATEMENT.


REMEDY ID       816582-A3
DATE RECEIVED   DECEMBER 10, 2015
RESPONSE DUE    FEBRUARY 8, 2016
SUBJECT 1       MEDICAL CARE - IMPROPER OR INADEQUATE
SUBJECT 2       CONSULTANT REFERRALS, RErpMMF\?DATIONS
    Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 69 of 93




Administrative Remedy No. 816582-A3
Part B - Response


       1
This is in response to your Central Office Administrative Remedy
Appeal wherein you allege you are being denied knee surgery.
For relief, you request to be approved for surgery.

We have reviewed documentation relevant to your appeal and,
based on the information gathered, concur with the manner in
which the Regional Director addressed your concerns at the time
of your appeal. Our subseq~zent review show you were evaluated
by thex institutionClinical               D octor (CD) ooveinber 24, 2015,
 ~..        ,;,r~ . n_ . ~ ...
who noted
        ~.. no~~im~rovement
                    ~ ..               to your right knee despite knee
                               :.~a~.~
exercises and a brace. As a result, the CD~submitted a
consultation request for evaluation by an orthopedic specialist.

You will be scheduled to see the orthopedic specialist in the
near future and further treatment will be considered based on
the orthopedic specialist's recommendations. Records reflect
you are currently provided with a cane and lower bunk pass, as
well as Ibuprofen for pain.

The record reflects you are receiving medical care and treatment
in accordance with evidence based standard of care and within
the scope of services of the Federal Bureau of Prisons. You are
encouraged to comply with proposed medical treatment so Health_
Services can continue to provide essential care and to contact_
medical personnel through routine sick call procedures should
your knee condition worsen.                                 ~'

Based on the forgoing, this response is provided for
informational purposes only.




Date
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                                       National Inmate Appeals
         Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 70 of 93
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                                    PICKENS COUNTY MEDICA
                                                          L CENTER
                                                  Department of Imaging Servic
                          211 Robert K Wllson DrNe •
                                                                               es
                                                     UndRon,Alabama 3517
                                                                                               Phone:(205)367.8111        Fax: (205) 367-8973
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                                  OPd~rinp Ph~rsieian
    02/23/2016                                                          Proc~dur~ Do~cripiion
                                  Rkhud GriRln, MD
                                                                        005306552 - Rlght Knee, Thrce
                                                                                                      Views



   AVATlABLE CLINICAL INF
                             ORMATION: Right knee pain.
   Right knee, three views, 02/
                                23j2016, 10:16 hours
  Minimal fluid knee joint. Minor
                                  hyp
  narrowing of joint space medially ertrophi~ bony changes posterior patella. Slight
                                    in relation to laterally. No acute fra
                                                                           cture.
  IMPFtES5I0N: Onfy minor hypertrop
                                       hic bony changes without acute fra
  malalignment noted.                                                        cture or
        -                         _
                  ._ -                                             ~~~
    ~/Z3/2016 l.1:02 11~[:                           J Alo~~der Laa~iagton, fir,
                                                                                 ~


 22F:)Al:md.lus~ 2335785
 4P: 02/2 2016 10:18
 DD: 02/23/2016 11~Q2
 DT: 02/23/201611:02
                                                                            J Alexander Lushington, )r, MD
 Ted+rdopw[s: iRAO.GNT




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Diagno6tic Imaging and Fluoroscopy
                                                                                                                      Copy for Griffin, Richard, MD
 Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 71 of 93




                   PALAN DIAGNOSTICS
                                3790 FOREST AVE.
                              YORBA LINDA,CA 92886


NAME: COOPER,VANESSA                                          EXAM DATE: 5h 912017
MRN: 56397-018                                                DOB: 12119!'{973
FACILITY:                                                     ROOM:
REFERRING PHYSICIAN: PEIKAR                                   FAX:


US                             PEL1/(S


FINDINGS:
                                                                    measure. The size is
The uterus is enlarged and heterogeneous, difficult to accurately
                                                                      y and multiple fibroids
estimated at 20 cm x 9.3 cm x 18 cm. There is diffuse heterogeneit
                                                                         . The adnexa are
intermixed with scattered calcifications, particularly toward the fundus
obscured. There is no free fluid in the pelvis.

IMPRESSION:
1. Enlarged fibroid uterus, difficult to fully visualize.
2.Obscuration of both adnexa.
                                                                  lly indicated.
3. Further evaluation with a pelvic MR1 may be helpful if clinica




                                            M.D.                               5f2312017 1:11:55 PM
  ELECTRONICALLY SIGNED BY: THOMAS L. ATLAS
                     Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 72 of 93



              CLAIM FOR DAMAGE,                     ~NSTRUCTlONS: Please read carefully the instructions on the reverse side and        FORM APPROVED
                                                    supply information requested on both sides of the form. Use additional sheens) if OMB
               INJURY, OR DEATH                     necessary. See reverse side for additional instructions..
                                                                                                                                             NO.
                                                                                                                                        1105-0008
    1 . Submit To Appropriate Federal Agency:                                2. Name, Address of claimant and claimant's personal representative, if any.
                                                                                See instructions on reverse.) (Number, street,"city, State and Zip
                                                                                                                                                   Codel

                                                                              cvt~ess~. ~oo~~~ ~$3 ~i ~ ~ p 1~

                                                                            ~? d• ~                                  s'
    3. TYPE OF EMPLOYMEN         4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT
                                                                                                    col             ~
                                                                                                                              7. TIME (A.M. orP.M.I
       MILITARY       CIVILIAN ~ ~~ — J ~                J, /                    ~ 4,          ~~         f ~'~               ~ ~(~(~ ;
   8. Basis of Claim (State in detail the known facts and ci mstances attending th damag ", injuryyor death, identifying
                                                                                                                         persons and pio erty
      involved, the place of occurrence and the cause the~eofJ (Use additional pages if necessary.J~~~    e ~e ~~~~`/~
   r~'~~~~ C~~e l~~~ 7~ ~G'~1~ ~/~r~ vi~~ //~~
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        a
  9.                                            PR ER     DAMAGE                                                          '
  NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, street, city, State, and Zip Code)


          f~
   BR EFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY MAY
                                                                                                  BE INSPECTED. (See
  instructions on reverse side)


        ~.               In"~~
  10.                                    PERSONAL INJURY/WRONGFUL DEATH
  STATE NATUFE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN
                                                                                                              CLAIMANT,
  STATE NAME OF INJURED PERSON OR DECEDENT.




        ~E~              ~
 1 1.                                                            WITNESSES
                             NAME                                              ADDRESS (Number, street, city, State, and Zip Code1

 /~os~/          PuCr~/~an~ ~i ems, /~ yL~                      ~G~            Cis       ~.~ o~
 ~/,~ ~r//E ~~~sor~
 1 2. (See instructions on reverse)                AMOUNT OF CLAIM (/n dollars)
 1 2a. PROPERTY DAMAGE              12b. PERSONAL INJURY       12c. WRONGFUL DEATH                       12d. TOTAL (Failure to specify may cause
                                                                                                              forfeiture of your rights.!'


 CERTIFY THAT THE AMOUNT OF CLAIM CO RS ONLY DAMAGES AND INJURIES CAUSED BY THE ACCIDENT AB VE AND AGREE
                                                                                                         TO ACCEPT
SAID AMOUNT IN FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.
1 3a. SIGNATURE OF CLAIMANT (See instructions on reverse sib'e.l                         13b. Phone number of signatory     14. DATE OF CLAIM


                                                                                                                                         /~
                   CIVIL P ALTY FOR PRESENTING                                       CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                         FRAUDULENT CLAIM                                                CLAIM OR MAKING FALSE STATEMENTS
   The claimant shall forfeit and pay to the United States the sum bf       Fine of not more than $10,000 or imprisonment for not more than 5 years
52,000 plus double the amount of damages sustained by the United           or both. (See 18 U.S.C. 287, 1001.1
States. (See 31 U.S.C. 3729.1
95-tog                                                NSN 7540-00-634-4046
Previous editions not usable.                                                                                     STANDARD FORM 95(Rev. 7-85)(EGl
Designed using Pertorm Pro, WHS/DIOR, Jun 98        -                                                             PRESCRIBED BY DEPT. OF JUST/CE
                                                                                                                  28 CFR 74.2
Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 73 of 93




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      Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 74 of 93
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       Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 76 of 93




                                                            U. S. Department of Justice

                                                            Federal Bureau ofPrisons

                                                            Southeast Regional Office
                                                            3800 Camp Creek Pkwy SW
                                                            Bldg 2000
                                                            Atlanta, GA 30331


CERTIFIED MAIL
7014 2120 0003 4453 1894

Vanessa Cooper
Reg. No. X8397-018
FCC Victorville, Med,II, Camp
P.O. Box 5300
Adelanto, CA 92301

 RE:    Administrative Tort Claim Number: TRT-SER-2016-05214

Dear Claimant:

 Your claim has been considered for administrative settlement under the Federal Tort Claims Act
("FTCA"), Title 28, United States Code(U.S.C.), Section 2672 et seq., and the authority
 accorded by Title 28, Code of Federal Regulations (C.F.R.), Section 0.172. Under Section 2672
 of the FTCA,each federal agency has been delegated the authority to consider, determine, and
 settle any claim for money damages against the United States for personal injury or loss of
 personal property caused by the negligent or wrongful act or omission of an employee acting
 within the scope of his or her office or employment.

We have investigated your claim, and the investigation did not indicate you suffered an injury or
loss caused by the negligence of a Bureau ofPrisons employee acting within the scope of his or
her employment. Accordingl_~~, your FTCA c?aim is denied. If you are dissatisfied with our
determination, you have six (6) months from the mailing date ofthis letter to file suit in an
appropriate United States District Court.


Sincerely,

             ~i~~.--
Supervisory Attorney

Date:        5 /7
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Knee Exercises
If my knee hurts, why exercise?
                                                                        and prevent further injury.
Having strong, flexible muscles is the best way to keep knees healthy

Strength
                                                                       on your knee joint. Strong muscles in the front of
Strengthening the muscles that support your knee will reduce stress
                                                                        knee joint absorb shock. The less strain on
your thigh (quadriceps) and back of your thigh (hamstrings) help your
                                                          prevent ing further injury.
your knee, the better the chances are for pain relief and

Flexibility
                                                                of preventing injury. Strengthening exercises build
Stretching the muscles that you strengthen is an important part
m uscle to help support your knee, but can also tighten the muscles . Tight muscles are more prone to injury. Gentle
                                                                  and will keep your musGes long and flexible.
stretching after strengthening exercise reduces muscle soreness




Quadriceps muscles at front of thigh.
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 Hamstring muscles at back of thigh.


 How do I start exercising?
 Your doctor or physical therapist will tell you which exercises are right for you

 Start slowly. Building muscle strength takes time. As you get stronger, gradually increase
                                                                                            the number of exercise
 repetitions or add weight to an exercise.

Do not ignore pain. You should not feel serious pain during an exercise. You might
                                                                                   feel discomfort because you are
challenging your muscles, but not pain. If an exercise hurts, stop the exercise.

Do not overdo it. You
                    m:. .should
                         _ ...,. _ not
                                   ... feel
                                         .. serious pain after exercise., It is typical to feel stiff or a bit sore the day after
you exercise. If you feel so sore that it is difficult to move, then you have overdone your
                                                                                                     exercise. Rest is the best
thing for your sore muscles.

Ask questions. Talk to your doctor or therapist if you have any pain or are unsure of
                                                                                      how many exercises to do, or
how often to do them.


Strengthening Exercises
Warm up with 5-10 minutes oflow impact activity, like walking or cycling, before
                                                                                                  doing these exercises             1
Sfraight-Leg Lift

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       Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 79 of 93




 You should feel this exercise mostly in the front of your thigh.

Lie on your back with one leg bent and the other straight. Tighten the thigh muscles in your straight leg and slowly lift
it until it is about a foot off the floor. Hold it for 3 to 5 seconds. Slowly lower your leg to the floor. Repeat and switch
sides.

Do: Keep your upper body relaxed and tighten your stomach muscles to keep your low back flat against the floor.

Do not: Arch your back. Do not lift your leg too high with a jerking motion.

Single-Leg Dip


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You should feel this exercise in the front and back of your thigh, hip, and buttocks.

Place two chairs on either side of you to help with balance. Lift one leg slightly in front of you. Plant your weight on
the other leg. Slowly lower yourself down a few inches, pushing your weight onto the heel of your supporting leg. Hold
for 3 to 5 seconds. Slowly straighten up. Repeat and switch sides.

Do: Sit back as if there was a chair behind you.

Do not: Let the knee of your supporting leg move forward over your toes.

Hamstring Curls



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i           Case 7:17-cv-01580-RDP-JEO Document 1 Filed 07/12/17 Page 80 of 93



      You should feel this exercise at the back of your thigh.

      Hold on to the back of a chair for balance. Plant your weight onto your supporting leg. Lift the other foot and bring the
      heel up toward your buttocks. Hold for 3 to 5 seconds. Slowly lower your leg. Repeat and switch sides.

      Do: Keep your knees close together.

      Do not: Lock the knee of your supporting leg. Do not bring your heel up pasta 90 degree angle.

     Knee Sfabilzation Series
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    You will feel these exercises on all sides of your thigh, your hip and buttocks.

    Hold onto the back of a chair for balance. Slightly lift one leg. Plant your weight on your supporting leg. Tighten your
    thigh muscles in your lifted leg and slowly move it in the direction shown. Hold for 3 to 5 seconds. Slowly return to
    start and repeat. Turn your body 90 degrees to begin the next exercise in the series.

    Do: Focus on your supporting leg. It is working just as hard as the moving leg.

    Do not: Lock the knee of your supporting leg. Do not arch~your back or lean to either side during these exercises.

    Wall Squat
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You should feel Phis exercise mostly in the front of your thighs.

Stand with your head, back, and hips against a wall. Step your feet out about 2 feet from the wall, hipwidth apart.
Slowly slide down the wall until you are almost in a sitting position. Hold for 5 to 10 seconds, then slowly slide up.
Repeat.

Do: Keep your abdominal muscles tight. Hold the position longer as you get stronger.

Do not: Slide your hips down lower than your knees. Do not let your knees move forward over your toes.

Step Ups
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  You should feel this exercise in the front and back of your thigh, your hip, and buttocks.

 Use a 6-inch high stool or platform. Step one foot onto the platform. Lift your other foot off the floor, letting it hang
 loosely off the platform. Try to hold for 3 to 5 seconds. Slowly lower your hanging foot to the floor, then bring your
 stepping foot down. Repeat and switch sides.

 Do: Make sure when you step up that your whole foot is on the platform.

 Do not: Lock the knee that is stepping on the platform.



 Stretching Exercises
 Quadricep Stretch




 You should feel this stretch in the front of your thigh.

Hold on to a wall or the back of a chair for balance. Lift one foot and bring your heel up toward your buttocks. Grasp
your ankle with your hand and pull your heel closer to your body. Hold the stretch for 30 seconds.

Do: Keep your knees close together. Stop bringing your heel closer when you feel the stretch.

Do not: Arch or twist your back.

Hamstring Stretch




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You should feel this stretch at the back of your thighs and behind your knees.

Sit up tall with both legs extended straight in front of you. Your feet are neutral —not pointed or flexed. Place your
palms on the floor and slide your hands toward your ankles. Hold for 30 seconds.

Do: Keep your chest open and back long. Reach from your hips. Stop sliding your palms forward when you feel the
stretch.

Do not: Round your back or try to bring your nose to your knees. Do not lock your knees.
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                                                  Spine ~anditivning Rrogram
Purpose of1'ragram
After an injury or surgery, an exercise conditioning program will help you return to daily acrivities and enjoy a more
arrive, healthy lifestyle. Following a we11-structured. conditioning program will also help you return to sports and other
recreational activities.
   This is a general conditioning program that provides a wide range of exercises. Tq ensure that the program is sa#e
and effective for yon,it should be performed under your doctor's supervision. Talk to your doctor or physical therapist
about which exercises wilt best help you meet your rehabilitation goals.

Strength: Strengthening the muscles that support your spine well help keep your back and upper body stable. Keeping
these muscles strong can relieve back pain and prevent further inyury.

Ffextbility: Stretching the muscles that you strengthen is important fvr restoring range of motion and preventing injury.
Gently stretching after strengthening exercises can help reduce muscle soreness and keep your muscles Iong and flearible.

Target Musefes:Tfie muscle groups targeted in this conditioning program inclade:
    Cervical spine (neck)                                     •External oblique rotators aside and lower back)
    Trapezius (neck and upper backs                           •Internal oblique rotators {side and lower back)
 • Latissimus dons (side and middle back)                     R Piriform s (buttocks)
 • Back extensors and erector spinae                          •Gluteus maximus (buttocks)
   (middle and lower back)                                    •Gluteus medics (buttocks)
 • Quadrates lumborum (lower back)                            •Hamstrings(back of thigh)
 • Abdominals

Lenr~th of pr~g~'am:This spine conditioning program should be continued for 4 to 6 weeks, unless otherwise specified
by yaur dtxtor yr physical therapist. After your recovery,these exercises can be tc ntinued as a maintenance program
for lifelong protecrion and health of your shoulders. Performing the exercises two to three days a week will. maintain
strength and range of oration in your back.

Getti~rg Started
Warm ups Before doing the following exercises, warm up with S to 10 minutes of low impact activity, like walking or
riding a stationary bicycle.

5treteh: Aber the warm-up,da the strcuhing exercises shown on Page 1 before moving on to the strengthening
exercises. Whin you have completed the strengthening exercises, repeat the stretching exercises to end the program.

Din not ignore path:Yau should not feel pain during an exercise. Talk to your doctor or physical therapist if you have
any pain while exercising.

Ask questions:If you are not sure how to do an exercise, or how often to do ix, contact your doctor or physical therapist.




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                                                          Spine Canditit~ning Program
                                                                  STRETCHING EXERCISES

      1. Head Rails
            Repetitianx          M,~in muscles worked: Cervical spine muscles, trapez
                                                                                       ius
                                 You should feel this stretch all around your neck and
                                                                                       into your                          upper back
                                 Equipment needed:None
       days per week
              ~.

    Step-by-step directions
   • Sit in a chair ar stand with your weight evenly distri
                                                            buted an both feet.                                                    _~_              ~      —      —
   • Gently bring your chin toward. your chest.                                                                                           _ ~,
   • Roil your head to the right and Yarn so that your car
                                                           is over your
     shoulder (~ ). Hold for 5 seconds.
  i Gently roll your head back coward your ~hesc and to                                                                                                    ;-
                                                               the left. Turn your                                                  ';
    head so that your ear is aver y~aur left shc~i~lder (2}. Ht~ld                                                      / ,~     _ .,
                                                                   Ec~r 5 seconds.
    Siowl~r roll. your head bacl: and. in a clockwise circle
                                                              three times (3),                                            E
  • R+ev~rse directions and slaw roll your heap# in count
                                                     a        erclockwise circle
    three tunes {4).

        •      Do not shrug your shoulders up during this exercise.



  ,2. Krte~l~tzg ~i~ack Extensia~t
                             Main muscles worked; Quadrates lumborx~m,execto
                                                                                   r spinae
              ~~             Yc~n should feel this stretch in your lower back and your
                                                                                        abdom                           inals
 ~
 ~                     J
                             equipment needed:None
   ..
            Daily        !

 Step-~y-step directions
• Begin can yUur hands and knees with your shoulders positi
                                                            oned ovee
  your hands.
• Rock forward onto your arms,round your shoulders
                                                             and allow your
  lo~v back. to ~1co~~ to4vard The floor. Hnld for 5 secc~ncis.
• Rack backiz~ard and sit yUur buttocks as close to your
                                                         heels as possible.
  Extend yGur arms and held fc>r S seconds.

             Look down on the floor to keep your neck in alignment with your
                                                                                                spine..
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                                                    Spine Conditioning Program
                                                            STRETCHfNG EXERCISES

3. Sitting Rotation Stye#ch
      Repetitions           IVrain muscles worked:Piriformis, externai oblique rotators, internal oblique rotators
                            You should feel this stretch in gaur buttocks, as well as at your sides

                            Equipment needed: None
    Days per week




Step-by-step directlQns
• fit on the floor ~~~ith both legs straight out in Front of you. Cross
  one leg aver the other.
     Slowly tiwist toward your bent leg, putting your hand behind you
     far support.
     Place your opgasite arm on the side of your bent thigh and use it to Help you twist further.
     Look aver your shoulder and hold the stretch far 30 seconds. Slowly come back. to center.
     Repeat can the other side. Repeat the entire sequence 4 times.

              Sit up tall and keep your sit bones pressed into the floor throughout the stretch, ~

4, Machfind Seat Side Straddle
     .. ~ _      ~          Main mus~le~ worked: Hamstrings,f:xtensar mnseles,erector s~inac
                            You should feel this stretch in ehe back of your thighs and into your lower and middle back
     1 D each side
L                       ~
                            Equipment needed: None
    .. ,.
         Daily

Step-by-step dirsctipr~s
• Sit on the floor with one lc~ extended to the side end the other
  lei bent.
• Keep your back straight and bend from your hips toward the foot of
  your straight lei, Reach your hands toward your tries and bald for S
  secUnds.
• Sl~w~y round }your spine and bring your hands cry yanr shin or ankle.
  Bring your head down as close tc~ yaur knee as possible.
• Hold fc~r 30 set~nds anti then relax far 30 sEcont~s.
    I~epcati can the other side. Repeat the sequence 10 times.
              Keep your extended leg straight as you bring your head down.
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                                                   Spiny Can~diti~ning Program
                                                           STRE"fCHtNG EXERCISES

S. I~r~ee to C'laest
    .~ ,.       ~          M$in muscles worked:Quac~ratus lumborum
                           You should feel this streC~h in yopr lower back, as well as in the front of your hip and inner thigh
     3 sets of 10
                           Equi~m~nt needed: None
  .. .-
~_,Qaiiy

Step-by-step dire~~fans
• Lie on your back on tl7e floor.
• Lift ane leg and bring ypur knee toward your chest. Grasp your
  knee or shin and pull yUur lei in as far as it wil! go.
• Tighten your ando.minals and press your spine to the floor. Held for 5 seconds.
• Repeat Un the other side,then pull. both legs in tc~gethex. Repeat the sequence 1 Q rimes.

           Keep your spine aligned to the floor throughout the sequence.




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                                                    Spine Conditioning Program
                                                        STRENGTHENING EXERCISES

6, Bird Dog —
   .. ~ _       ~          Main muscles worked:Back extensors, erector spina, gluteal muscles
                           You shnuld feet this exercise in your lower back and iiyta your buttocks
            5
                           Equtpmen# neededt 1~IAne
  •.     .-
        Daily                                                                                          Start
-----               ~

Step-by-step directions
  Begin on your hands and knees with your shoulders positioned
  over your hands and your hips directly over your knees.
• Tighten your abdominal muscles and raise one arni straight out
  to shoulder-height and level with ygur body. Hold until you feel                                     finish
  balanced.
• Slowly lift and e~ctend the opposite leg straight c ut from yAur hip.
• Tighten the muscles in your buttocks and thigh, and hold this
  position for 1S seconds.
• Slowly return t~ the start pnsition and repeat with the opposite arm and ~e~.
            Keep your stomach muscles tight and your back flat to stay balanced.

7.1'lunk
    itepeiitions            Main muscles warked: Back extensors, erector spinae, quadratus lumborum, abcl~miizals
                            YQu should feel this exercise in your middle t~ lower back, ~bdominals,anti gluteal muscles

                           Equipment needed: Nano
  Days per week



Step-by-steps directions
• I.ie ~n your stomach with yo~ir forearms on the floor and
  your elbows directi{y below your shoulders.
• Tighten }'c ur aUdominal .muscles ancj lift your hips off of the floor.
* Squeeze your gluteal muscles and li.Et pour k~lees off of the floor.
                                                                                      ,
• Keep yt~ur body straight and hold far 30 seconds. If you cannot held this gcssition
  bring your knees back to tN~e floor and hold  with  just your hips  lifted.

f Slowly return co the start position and r~sti 30 sec~nc~s. Repeat.
            Do not let your pelvis sag toward the floor. Keep your stomach muscles tight.
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                                                  Spine Candi#inning Program
                                                     STRENGTHEAIiNG EXERCISES

~3. Mathfec~ Side Pfa~~~
                                                                                               s, internal oblique rotators
    Repetitions          .Main muscles worked:Quadrates lumbarum, external oblique rotator
                         You should feel this exercise in your lower back, waist, end abdomin~ls

                          Equi~merst needed:None
  Days per week
         r.

Step-by-step d~retti~ns
                                                                    and
• I.ie ~n your side on the Floor with your bottom lei slightly tint
                                          directl y under your shpuld er
  top leg straight. Your elbow should b~
  ~~ith your forearm extended an the floo r in front  of you.

• Tighten your abdominal muscles and raise your hip cuff of the floor.
                                                                   the floor as shown.
• if you can,straighten your bottom lei and lift your knee off of
• Keep your body straight anti hold. this ~ositian for 15 seconds.
  Slowly return to the start position and repeat an the other side.
                                                                                                         to your ear.
             Keep neck in alignment with your spine and do not shrug your shoulder up


9.Hap Brc'dge
                                                                                        gluteal muscles, hamstrings
        R        .         Main muscles worked:I.pwcr back extensor, erector spir~ae,
                                                                                                 of your Thigh
                           Yau should feel ehis exercise in your lower back, buttocks, and lack
             5
                           Egatpmen# needed;Nvne
   r.
            Daily

St+~p-by-step directions
* I.ie an your back oij the floor with your arms at your sides, your
  knees bent, and your feet flat on the Floor.                                                                  -          —.r~r              i~

• Tighten your and~minal and giute~f m~iscles and lift your pelvis
                                                                   your
  sa that yt~ur body is in a straight tine from your shoulders tc~
  k nees.
• H~lc~ this position. for 7 S seconds.
• S4ovvly retarn tc~ the start position and repeat.
                                                                            in your                 netk.
              Center your weight over your shoulder blades. Do not tense up
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                                                    Spine Cantfitioning Program
                                                         STRENGTHENING E3(ERCISES

10. Abdominal Bracing
   Repetit~~ns              Ma~~ muscles workedt Abdominals
                            Yau should feel this exercise in your stomach muscles

                            EquipmenC needed: Nine
  t]ays per week
         r.


Step-by-step direftinns
• I.ie on your back on the tlaor with your knees lent and
  arms at your sides.
• Tighten your abdominal muscles so Char yo~~r stomach
  pulls away from your waistband.
• HAId this pos tir~n fc~r 1S seconds.

           Flatten your lower back into the floor.




1 ~. Abdflrnirtal Cru~cl~
                            Main rr~usctes worked; Abdominats
    Repetitions         i
                            YUu should feel this exercise in your stomach muscles

                            Equipment needed:Nc>ne
  Days per week
         ~.


Step-by-step directions
• I.ie an your lack nn the Flog «pith your knees bent and
  hands at the back of your head with your elbows open wide.
• "Tighten your abdaminai muscles and lift your head and
  shoulder blades off caf. the floor.
   Keep ~rc~ur back flat t~ the floor and hold for 2 seconeis.
• Slaw~y lower and repeat.


            Relax your neck and do not pull on your head with your hands.

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